      Case 3:25-cv-01780-WHA           Document 90   Filed 03/11/25   Page 1 of 65




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14                                UNITED STATES DISTRICT COURT

15                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                     SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                         Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                   SECOND AMENDED COMPLAINT FOR
19    COUNTY and MUNICIPAL EMPLOYEES,                DECLARATORY AND INJUNCTIVE
      AFL-CIO; et al.                                RELIEF
20
              Plaintiffs,
21
         v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24

25
              Defendants.
26
27

28

     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA
       Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 2 of 65




 1         Plaintiffs American Federation of Government Employees, AFL-CIO (“AFGE”), American

 2   Federation of State County and Municipal Employees, AFL-CIO (“AFSCME”), AFGE Local 1216,

 3   United Nurses Associations of California/Union of Health Care Professionals, AFSCME, AFL-CIO

 4   (“UNAC/UHCP”), and AFGE Local 2110 (collectively, “Union Plaintiffs”), along with Main Street

 5   Alliance, Coalition To Protect America’s National Parks, Western Watersheds Project, Vote Vets

 6   Action Fund Inc., Common Defense Civic Engagement, the American Public Health Association, the

 7   Association of Flight Attendants-CWA, AFL-CIO (“AFA”), the American Geophysical Union,

 8   Climate Resilient Communities, Point Blue Conservation Science, and the State of Washington

 9   (collectively, “Plaintiffs”), file this complaint seeking to enjoin the terminations of tens of thousands

10   of federal employees in contravention of federal constitutional and statutory law, against Defendants

11   the United States Office of Personnel Management (“OPM”), Acting OPM Director Charles Ezell,

12   and the Federal Agency Defendants (listed below), who are sued solely for purposes of obtaining

13   complete relief, and hereby plead as follows:

14                                              INTRODUCTION

15           1.      On or about February 13, 2025, Defendant OPM and its newly appointed Acting

16   Director, Defendant Charles Ezell, ordered federal agencies across the country to terminate tens of

17   thousands of federal employees by sending them standardized notices of termination, drafted by

18   OPM, that falsely state that the terminations are for performance reasons. OPM followed up this

19   instruction on February 14, 2025 with a directive in writing to the Chief Human Capital Officers

20   Council (“CHCO”) for federal agencies, in which OPM reiterated the order to fire all probationary

21   workers across the government other than those OPM permitted the agencies to retain as “mission

22   critical,” and to do so, falsely, for performance.

23           2.      Probationary employees are employees of the competitive service in their first year of

24   employment in a particular position, and employees of the excepted service in their first two years of

25   employment in a particular position (hereafter collectively “probationary employees”). Probationary

26   employees may include experienced federal employees who have recently become employed in a
27   new position or a new agency.

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                              1
      Case 3:25-cv-01780-WHA            Document 90      Filed 03/11/25      Page 3 of 65




 1          3.      OPM’s directive that federal agencies terminate these employees en masse, on

 2   pretextual grounds, seeks to further the newly elected Presidential Administration’s policy goals of

 3   dramatically curtailing the size and spending of the federal government. But Congress, not OPM,

 4   controls and authorizes federal employment and related spending by the federal administrative

 5   agencies, and Congress has determined that each agency is responsible for managing its own

 6   employees. OPM lacks the constitutional, statutory, or regulatory authority to order federal agencies

 7   to terminate employees in this fashion that Congress has authorized those agencies to hire and

 8   manage, and certainly has no authority to require agencies to perpetrate a massive fraud on the

 9   federal workforce by lying about federal workers’ “performance,” to detriment of those workers, their

10   families, and all those in the public and private sectors who rely upon those workers for important

11   services.

12          4.      OPM is an agency with no statutory authority to make termination decisions for

13   federal employees (other than for OPM’s own employees). Notwithstanding this lack of legal

14   authority, OPM ordered federal agencies throughout the nation, including in this District, to wipe out

15   their ranks of probationary employees without any regard to applicable statutes, including the

16   Administrative Procedure Act (“APA”) and statutes governing federal employment and the respective

17   roles of OPM and the agencies.

18          5.      OPM also ordered the agencies to use a template e-mail to terminate these workers,

19   provided by OPM, that falsely inform employees that their terminations are for performance reasons

20   rather than as part of a government-wide policy to reduce headcount that was authorized by no law.

21          6.      The federal agencies that followed OPM’s directive did not otherwise have plans to

22   terminate the entirety of their probationary workforce, who were employed in authorized positions to

23   perform services that in each agency’s judgment were needed to perform their statutorily mandated

24   role. In fact, some agencies have confirmed to their employees that they did not want to terminate

25   their probationary employees but were directed to do so by OPM. And they have confirmed that the

26   notices of termination mandated by OPM were false, because the agencies were not firing the
27   workers for performance reasons.

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           2
      Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 4 of 65




 1          7.      As of the filing of this Second Amended Complaint, tens of thousands of probationary

 2   employees across dozens of federal agencies have already been terminated in the summary,

 3   assembly-line fashion directed by OPM. Each day, more such employees receive notice of the

 4   termination of their federal employment. The terminations have been conducted summarily, without

 5   any advance notice to the affected employees, throwing their lives, their families’ lives, and the entire

 6   federal government into chaos.

 7          8.      OPM, the federal agency charged with implementing this nation’s employment laws,

 8   in one fell swoop has perpetrated one of the most massive employment frauds in the history of this

 9   country, telling tens of thousands of workers that they are being fired for performance reasons, when

10   they most certainly were not.

11          9.      OPM’s program is an unlawful ultra vires action outside the scope of any statutory or

12   Constitutional authority. OPM’s program also violates the APA’s prohibitions of unlawful, arbitrary

13   and capricious, and procedurally improper agency action (including because this government-wide

14   action was taken without notice and comment rule-making). Where, as here, a federal agency has

15   engaged in unlawful action contrary to the APA, the courts “shall …hold unlawful and set aside” that

16   action. 5 U.S.C. § 702(2).

17          10.     The APA, was designed to “serve as the fundamental charter of the administrative

18   state.” Kisor v. Wilkie, 588 U.S. 558, 580 (2019) (plurality opinion) (internal quotation marks

19   omitted). As the Supreme Court recently explained, “Congress in 1946 enacted the APA ‘as a check

20   upon administrators whose zeal might otherwise have carried them to excesses not contemplated in

21   legislation creating their offices.’” Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 391 (2024)

22   (quoting United States v. Morton Salt Co., 338 U.S. 632, 644 (1950)). OPM’s actions disrupt the

23   constitutional balance of power and violate numerous federal statutes, running roughshod over

24   fundamental protections against unlawful and arbitrary federal action.

25          11.     The Court should immediately enjoin OPM and all those Defendant Federal Agencies

26   that have implemented or that intend to implement OPM’s unlawful directive to terminate their
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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            3
      Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 5 of 65




 1   employees in an unlawful manner, to cease implementation of this mass pretextual terminations of

 2   probationary federal employees, and to rescind the unlawful terminations that already have occurred.

 3                                      JURISDICTION AND VENUE

 4            12.   This Court has jurisdiction pursuant to 28 U.S.C. § 1331.
 5            13.   Venue is appropriate in this district under 28 U.S.C. § 1391(e). Plaintiffs AFGE and
 6   AFGE Local 1216 represent probationary and trial-period federal employees whose place of
 7   employment is within the Northern District of California, and who have been terminated, or are
 8   subject to termination, because of OPM’s illegal program.
 9            14.   Intradistrict assignment is appropriate in the San Francisco/Oakland division of this
10   Court.
11                                                 PARTIES
12            15.   Plaintiff AFGE, AFL-CIO, is a labor organization and unincorporated association
13   headquartered at 80 F Street N.W., Washington, D.C. 20001. AFGE, the largest union of federal
14   employees, represents approximately 800,000 federal civilian employees through its affiliated
15   councils and locals in every state in the United States, including employees of numerous agencies of
16   the federal government, including the Department of Veterans Affairs (“VA”), Department of
17   Education, National Institutes of Health, Small Business Administration, and others. AFGE
18   represents employees of the VA who are employed in San Francisco, Oakland, San Bruno, Eureka,
19   Ukiah, Clearlake, and Martinez, California.
20            16.   Plaintiff AFSCME, AFL-CIO, is a labor organization and unincorporated association
21   headquartered at 1625 L Street, N.W., Washington, D.C. 20036. AFSCME is the largest trade union
22   of public employees in the United States, with 1.4 million members organized into approximately
23   3,400 local unions, 58 councils and affiliates in 46 states, the District of Columbia and Puerto Rico.
24   AFSCME unions represent federal civilian employees in numerous agencies and departments across
25   the federal government, including the Federal Aviation Administration, the Department of
26   Agriculture, the Peace Corps, Americorps, and the Veterans Administration. Approximately 10,000
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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            4
      Case 3:25-cv-01780-WHA            Document 90         Filed 03/11/25      Page 6 of 65




 1   of Plaintiff AFSCME’s members are federal employees; over 1.1 million are state and local

 2   government employees, with the remainder retirees and private sector.

 3          17.     Plaintiff AFGE Local 1216 is a labor organization and unincorporated association

 4   headquartered at 4150 Clement Street, San Francisco, California 94121. AFGE Local 1216

 5   represents hundreds of VA employees who are employed in San Francisco, California.

 6          18.     Plaintiff United Nurses Association of California/United Health Care Professionals,

 7   AFSCME, AFL-CIO (“UNAC”), is a labor organization and an unincorporated association

 8   headquartered at 955 Overland Ct., Suite 150, San Dimas, California 91773. UNAC represents

 9   employees of the VA who are employed at Pettis Memorial Hospital in Loma Linda, California.

10          19.     Plaintiff AFGE Local 2110 is a labor organization and unincorporated association

11   headquartered in Palo Alto, California. AFGE Local 2110 represents approximately 4,000 employees

12   of the VA at the VA Palo Alto Health Care System, including its Menlo Park and Livermore

13   Divisions, and at several Community-Based Outpatient Clinics in Fremont, San Jose, Monterey, and

14   Capitola. Those employees work in all non-supervisory classifications, including doctors, nurses,

15   emergency medical services personnel, food service workers, custodial staff, and administrative staff.

16          20.     Plaintiff Main Street Alliance (“MSA”) is a national network of small businesses, with

17   approximately 30,000 members throughout the United States. MSA helps small business owners

18   realize their full potential as leaders for a just future that prioritizes good jobs, equity, and community

19   through organizing, research, and policy advocacy. MSA also seeks to amplify the voices of its small

20   business membership by sharing their experiences with the aim of creating an economy where all

21   small business owners have an equal opportunity to succeed. MSA is nonpartisan and is a §501(c)(3)

22   organization. MSA has approximately 1,410 small business members in California, including more

23   than 70 small businesses in Alameda, Santa Clara, San Francisco, Sonoma, and Contra Costa

24   Counties.

25          21.     Plaintiff Coalition to Protect America’s National Parks (“Coalition”) is a non-profit

26   organization made up of over 3,400 members, all of whom are current, former, and retired employees
27   and volunteers of the National Park Service. Together, they have accumulated over 50,000 years of

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                              5
      Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 7 of 65




 1   experience caring for America’s most valuable natural and cultural resources. The Coalition’s goal is

 2   to support the preservation and protection of the National Park System and the mission-related

 3   programs of the National Park Service (“NPS”) to ensure the survival of the park system for

 4   generations to come. The Coalition’s members are regular and avid users of the National Park

 5   System and NPS programs, as well as the national forests and other public lands, for recreation and

 6   conservation activities.

 7             22.   Plaintiff Western Watersheds Project (“WWP”) is a non-profit environmental

 8   conservation group that works to influence and improve public lands management throughout the

 9   western United States to protect native species and conserve and restore the habitats they depend

10   on. WWP’s primary focus is on the negative impacts of livestock grazing, including harm to

11   ecological, biological, cultural, historic, archeological, scenic resources, wilderness values, roadless

12   areas, Wilderness Study Areas and designated Wilderness. WWP was founded in 1993 and has more

13   than 14,000 members and supporters and field offices in Idaho, Montana, Wyoming, Arizona,

14   Nevada, and Oregon. WWP covers over 250 million acres of public land spanning all of the western

15   states.

16             23.   Plaintiff Vote Vets Action Fund Inc. (“VoteVets”) is a non-partisan, non-profit

17   organization incorporated under the laws of the District of Columbia. Its purpose is to lift up the

18   voices of veterans on matters of national security, veterans’ care, and everyday issues that affect the

19   lives of those who served as well as their families including foreign policy, veterans’ unemployment,

20   robust investment in care for veterans, energy security, protecting the rights of those who serve, and

21   upholding the Constitution and democracy that every military member swore to uphold and protect.

22   VoteVets has nearly two million supporters across the country, in all fifty states, with whom it

23   regularly communicates about issues affecting veterans, including the operations, programs, and

24   services available through the VA. Approximately 417,000 of VoteVets’ supporters live in California,

25   including 131,000 in Northern California.

26             24.   Plaintiff Common Defense Civic Engagement (“Common Defense”) is a grassroots
27   membership organization of progressive veterans, military families, and civilian supporters standing

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                             6
      Case 3:25-cv-01780-WHA             Document 90        Filed 03/11/25      Page 8 of 65




 1   up for our communities against the rising tide of racism, hate, and violence. Common Defense

 2   invests in the leadership of its members through training and deployment in campaigns that connect

 3   directly to their history of service, including voting rights, climate justice, and anti-militarism.

 4   Approximately 33,187 of Common Defense’s members live in California, including approximately

 5   2,000 veterans.

 6          25.       Plaintiff the American Public Health Association (“APHA”) is a non-partisan, non-

 7   profit organization that champions the health of all people and all communities; strengthens the

 8   profession of public health; shares the latest research and information; promotes best practices; and

 9   advocates for public health issues and policies grounded in scientific research. APHA represents

10   more than 23,000 individual members who reside in all 50 states, including 2,100 individual

11   members in California, and also has 52 state and regional affiliates. APHA is the only organization

12   that combines a 150-year perspective, a broad-based member community, and the ability to influence

13   federal policy to improve the public’s health. APHA’s membership additionally includes more than

14   250 California students in university public health schools or related programs, and over 50

15   California agency or organizational members, including the California Department of Public Health,

16   Contra Costa County Public Health, Marin County Public Health, and the Los Angeles Trust for

17   Children’s Health.

18          26.       Plaintiff Association of Flight Attendants-CWA, AFL-CIO (“AFA”) is a labor union

19   organized under the Railway Labor Act, 45 U.S.C. § 151, et seq. and serves as the leading voice for a

20   safe, healthy and secure aircraft cabin for passengers and crew alike. AFA represents over 55,000

21   flight attendants at twenty airlines, including flight attendants employed by Alaska Airlines, Hawaiian

22   Airlines, United Airlines, and Avelo Airlines who are based in San Diego, Los Angeles, Burbank, and

23   San Francisco.

24          27.       Plaintiff American Geophysical Union (“AGU”) is a 501(c)(3) membership

25   association for Earth and space scientists. The organization, founded in 1919, pursues a mission “to

26   support and inspire a global community of individuals and organizations interested in advancing
27   discovery in Earth and space sciences and its benefit for humanity and the environment.” AGU has

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                               7
      Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 9 of 65




 1   more than 42,000 members worldwide, with 29,000 residing in the U.S.; approximately 8,400 of

 2   those members work in the federal government, 28,000 are university researchers, and 2,000 are

 3   scientists at nonprofit organizations. In addition to traditional career support provided by an

 4   association, AGU publishes a portfolio of 24 high-impact scholarly journals and convenes regular

 5   scientific meetings, including its Annual Meeting, which had more than 30,000 attendees in 2024.

 6          28.     Plaintiff Climate Resilient Communities (“CRC”) is a small community-based non-

 7   profit organization that has grown rapidly through its grassroots work in environmental justice. CRC

 8   works predominantly in southern San Mateo County in East Palo Alto, the Belle Haven neighborhood

 9   of Menlo Park, and the unincorporated community of North Fair Oaks. CRC’s work addresses the

10   immediate needs of residents living in heavily polluted neighborhoods and suffering the

11   consequences of decades of disinvestment and overt segregation, by, among other things, distributing

12   air purifiers for children and elders with medical conditions, enrolling low-income families in utility

13   payment assistance programs, making vital home safety repairs for low-income residents, and

14   providing education and resources to help communities weather escalating climate disasters like the

15   January 2025 Los Angeles wildfires.

16          29.     Plaintiff Point Blue Conservation Science (“Point Blue”) is a nonprofit organization

17   founded in 1965 and headquartered in Petaluma, California. Its mission is to conserve birds, other

18   wildlife, and ecosystems through science, partnership, and outreach. Over six decades in

19   conservation, Point Blue has curated long term ecological data sets, honed analytical methods, and

20   built a deeply rooted culture of collaboration to address the significant challenges of our time. Point

21   Blue’s 160 scientists are leaders in climate-smart conservation science and are spearheading nature-

22   based solutions to threats to wildlife and our communities. Point Blue’s staﬀ are experts in ecology,

23   data management, restoration, evaluating and building solutions to environmental challenges, and

24   more. Point Blue records observations of the natural world using rigorous, standardized protocols

25   and use analyses of these observations to deepen our communityʼs understanding of nature to

26   improve conservation outcomes, partnering with local, state, and federal agencies to implement
27   conservation solutions, including the US Department of Defense, the USDA Natural Resources

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            8
     Case 3:25-cv-01780-WHA             Document 90       Filed 03/11/25      Page 10 of 65




 1   Conservation Service, NOAA, the National Science Foundation, and the US Fish and Wildlife

 2   Service.

 3             30.   Plaintiff State of Washington, represented by and through its Attorney General, is a

 4   sovereign state of the United States of America. The Attorney General is Washington’s chief law

 5   enforcement officer and is authorized under Washington Revenue Code § 43.10.030 to pursue this

 6   action.

 7             31.   Plaintiffs bring the claims in this complaint on their own behalf and on behalf of their

 8   members.

 9             32.   Defendant Office of Personnel Management (“OPM”) is a federal agency

10   headquartered in Washington, D.C. OPM is a federal agency within the meaning of the

11   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1).

12             33.   Defendant Charles Ezell has been the Acting Director of OPM since January 20, 2025.

13   He is sued in his official capacity.

14                                Defendants Named for Relief Purposes Only

15             34.   Defendant United States Department of Agriculture (“USDA” or “Agriculture”) is a

16   federal agency headquartered in Washington, D.C. USDA is a federal agency within the meaning of

17   the Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). USDA’s component sub-agencies

18   include the Forest Service, the Natural Resources Conservation Service, the Agricultural Marketing

19   Service, and the Food and Nutrition Service, among others. USDA is one of the Federal Agency

20   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

21   the February 14, 2025 OPM email. Defendant USDA is named solely for purposes of obtaining

22   complete relief.

23             35.   Defendant Brooke Rollins is the Secretary of Agriculture and is sued in her official

24   capacity. Defendant Rollins is named solely for purposes of obtaining complete relief.

25             36.   Defendant United States Department of Commerce (“Commerce”) is a federal agency

26   headquartered in Washington, D.C. Commerce is a federal agency within the meaning of the
27   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). Commerce’s component sub-agencies

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            9
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25     Page 11 of 65




 1   include the National Oceanic and Atmospheric Administration (“NOAA”), the National Weather

 2   Service, and the National Marine Fisheries Service (“NMFS”). Commerce is one of the Federal

 3   Agency Defendants that was ordered by OPM to terminate probationary employees, including by

 4   receiving the February 14, 2025 OPM email. Defendant Commerce is named solely for purposes of

 5   obtaining complete relief.

 6          37.     Defendant Howard Lutnick is the Secretary of Commerce and is sued in his official

 7   capacity. Defendant Lutnick is named solely for purposes of obtaining complete relief.

 8          38.     Defendant United States Department of Defense (“DoD” or “Defense”) is a federal

 9   agency headquartered in Washington, D.C. USDA is a federal agency within the meaning of the

10   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). DoD is one of the Federal Agency

11   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

12   the February 14, 2025 OPM email. Defendant DoD is named solely for purposes of obtaining

13   complete relief.

14          39.     Defendant Pete Hegseth is the Secretary of Defense and is sued in his official capacity.

15   Defendant Hegseth is named solely for purposes of obtaining complete relief.

16          40.     Defendant United States Department of Education (“Education”) is a federal agency

17   headquartered in Washington, D.C. Education is a federal agency within the meaning of the

18   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). Education is one of the Federal Agency

19   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

20   the February 14, 2025 OPM email. Defendant Education is named solely for purposes of obtaining

21   complete relief.

22          41.     Defendant Linda McMahon is the Secretary of Education and is sued in her official

23   capacity. Defendant McMahon is named solely for purposes of obtaining complete relief.

24          42.     Defendant United States Department of Energy (“Energy”) is a federal agency

25   headquartered in Washington, D.C. Energy is a federal agency within the meaning of the

26   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). Energy is one of the Federal Agency
27   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          10
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25     Page 12 of 65




 1   the February 14, 2025 OPM email. Defendant Energy is named solely for purposes of obtaining

 2   complete relief.

 3          43.     Defendant Chris Wright is the Secretary of Energy and is sued in his official capacity.

 4   Defendant Wright is named solely for purposes of obtaining complete relief.

 5          44.     Defendant United States Department of Health and Human Services (“HHS”) is a

 6   federal agency headquartered in Washington, D.C. HHS is a federal agency within the meaning of

 7   the Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). HHS’s component sub-agencies

 8   include the Centers for Disease Control and Prevention (CDC), the Food and Drug Administration

 9   (FDA), the National Institutes of Health (NIH), and the Health Resources and Services

10   Administration (HRSA). HHS is one of the Federal Agency Defendants that was ordered by OPM to

11   terminate probationary employees, including by receiving the February 14, 2025 OPM email.

12   Defendant HHS is named solely for purposes of obtaining complete relief.

13          45.     Defendant Robert F. Kennedy Jr. is the Secretary of HHS and is sued in his official

14   capacity. Defendant Kennedy is named solely for purposes of obtaining complete relief.

15          46.     Defendant United States Department of Homeland Security (“DHS”) is a federal

16   agency headquartered in Washington, D.C. DHS is a federal agency within the meaning of the

17   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). DHS is one of the Federal Agency

18   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

19   the February 14, 2025 OPM email. Defendant DHS is named solely for purposes of obtaining

20   complete relief.

21          47.     Defendant Kristi Noem is the Secretary of DHS and is sued in her official capacity.

22   Defendant Noem is named solely for purposes of obtaining complete relief.

23          48.     Defendant United States Department of Housing and Urban Development (“HUD”) is

24   a federal agency headquartered in Washington, D.C. HUD is a federal agency within the meaning of

25   the Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). HUD is one of the Federal Agency

26   Defendants that was ordered by OPM to terminate probationary employees, including by receiving
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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         11
     Case 3:25-cv-01780-WHA           Document 90       Filed 03/11/25      Page 13 of 65




 1   the February 14, 2025 OPM email. Defendant HUD is named solely for purposes of obtaining

 2   complete relief.

 3          49.     Defendant Scott Turner is the Secretary of HUD and is sued in his official capacity.

 4   Defendant Turner is named solely for purposes of obtaining complete relief.

 5          50.     Defendant United States Department of Justice (“DOJ”) is a federal agency

 6   headquartered in Washington, D.C. DOJ is a federal agency within the meaning of the

 7   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). DOJ is one of the Federal Agency

 8   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

 9   the February 14, 2025 OPM email. Defendant DOJ is named solely for purposes of obtaining

10   complete relief.

11          51.     Defendant Pam Bondi is the Attorney General and is sued in her official capacity.

12   Defendant Bondi is named solely for purposes of obtaining complete relief.

13          52.     Defendant United States Department of the Interior (“DoI” or “Interior”) is a federal

14   agency headquartered in Washington, D.C. Interior is a federal agency within the meaning of the

15   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). Interior’s component sub-agencies

16   include the U.S. Fish and Wildlife Service (“FWS”), the U.S. National Park Service (“NPS”) and the

17   Bureau of Land Management (“BLM”). Interior is one of the Federal Agency Defendants that was

18   ordered by OPM to terminate probationary employees, including by receiving the February 14, 2025

19   OPM email. Defendant DoI is named solely for purposes of obtaining complete relief.

20          53.     Defendant Doug Burgum is the Secretary of the Interior and is sued in his official

21   capacity. Defendant Burgum is named solely for purposes of obtaining complete relief.

22          54.     Defendant United States Department of Labor (“DOL”) is a federal agency

23   headquartered in Washington, D.C. DOL is a federal agency within the meaning of the

24   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). DOL is one of the Federal Agency

25   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

26   the February 14, 2025 OPM email. Defendant DOL is named solely for purposes of obtaining
27   complete relief.

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         12
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 14 of 65




 1          55.     Defendant Vince Micone is the Acting Secretary of Labor and is sued in his official

 2   capacity. Defendant Micone is named solely for purposes of obtaining complete relief.

 3          56.     Defendant United States Department of State (“State”) is a federal agency

 4   headquartered in Washington, D.C. State is a federal agency within the meaning of the

 5   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). State is one of the Federal Agency

 6   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

 7   the February 14, 2025 OPM email. Defendant State is named solely for purposes of obtaining

 8   complete relief.

 9          57.     Defendant Marco Rubio is the Secretary of State and is sued in his official capacity.

10   Defendant Rubio is named solely for purposes of obtaining complete relief.

11          58.     Defendant United States Department of Treasury (“Treasury”) is a federal agency

12   headquartered in Washington, D.C. Treasury is a federal agency within the meaning of the

13   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). Treasury’s component sub-agencies

14   including the Internal Revenue Service (“IRS”). Treasury is one of the Federal Agency Defendants

15   that was ordered by OPM to terminate probationary employees, including by receiving the February

16   14, 2025 OPM email. Defendant Treasury is named solely for purposes of obtaining complete relief.

17          59.     Defendant Scott Bessent is the Secretary of Treasury and is sued in his official

18   capacity. Defendant Bessent is named solely for purposes of obtaining complete relief.

19          60.     Defendant United States Department of Transportation (“DOT”) is a federal agency

20   headquartered in Washington, D.C. DOT is a federal agency within the meaning of the

21   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). DOT’s component subagencies include

22   the Federal Aviation Administration (“FAA”). DOT is one of the Federal Agency Defendants that

23   was ordered by OPM to terminate probationary employees, including by receiving the February 14,

24   2025 OPM email. Defendant DOT is named solely for purposes of obtaining complete relief.

25          61.     Defendant Sean Duffy is the Secretary of Transportation and is sued in his official

26   capacity. Defendant Duffy is named solely for purposes of obtaining complete relief.
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          13
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25     Page 15 of 65




 1          62.     Defendant United States Veterans’ Administration (“the VA”) is a federal agency

 2   headquartered in Washington, D.C. The VA is a federal agency within the meaning of the

 3   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). The VA is one of the Federal Agency

 4   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

 5   the February 14, 2025 OPM email. Defendant the VA is named solely for purposes of obtaining

 6   complete relief.

 7          63.     Defendant Doug Collins is the Secretary of the VA and is sued in his official capacity.

 8   Defendant Collins is named solely for purposes of obtaining complete relief.

 9          64.     Defendant United States Environmental Protection Agency (“EPA”) is a federal

10   agency headquartered in Washington, D.C. EPA is a federal agency within the meaning of the

11   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). EPA is one of the Federal Agency

12   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

13   the February 14, 2025 OPM email. Defendant EPA is named solely for purposes of obtaining

14   complete relief.

15          65.     Defendant Lee Zeldin is the EPA Administrator and is sued in his official capacity.

16   Defendant Zeldin is named solely for purposes of obtaining complete relief.

17          66.     Defendant United States General Services Administration (“GSA”) is a federal agency

18   headquartered in Washington, D.C. GSA is a federal agency within the meaning of the

19   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). GSA is one of the Federal Agency

20   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

21   the February 14, 2025 OPM email. Defendant GSA is named solely for purposes of obtaining

22   complete relief.

23          67.     Defendant Robin Carnahan is the GSA Administrator and is sued in her official

24   capacity. Defendant Carnahan is named solely for purposes of obtaining complete relief.

25          68.     Defendant United States National Aeronautics and Space Administration (“NASA”) is

26   a federal agency headquartered in Washington, D.C. NASA is a federal agency within the meaning
27   of the Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). NASA is one of the Federal

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         14
     Case 3:25-cv-01780-WHA           Document 90       Filed 03/11/25     Page 16 of 65




 1   Agency Defendants that was ordered by OPM to terminate probationary employees, including by

 2   receiving the February 14, 2025 OPM email. Defendant NASA is named solely for purposes of

 3   obtaining complete relief.

 4          69.     Defendant Janet Petro is the NASA Acting Administrator and is sued in her official

 5   capacity. Defendant Petro is named solely for purposes of obtaining complete relief.

 6          70.     Defendant National Science Foundation (“NSF”) is a federal agency headquartered in

 7   Alexandria, Virginia. NSF is a federal agency within the meaning of the Administrative Procedure

 8   Act (“APA”), 5 U.S.C. § 551(1). EPA is one of the Federal Agency Defendants that was ordered by

 9   OPM to terminate probationary employees, including by receiving the February 14, 2025 OPM

10   email. Defendant NSF is named solely for purposes of obtaining complete relief.

11          71.     Defendant Sethuraman Panchanathan is the Director of the NSF and is sued in his

12   official capacity. Defendant Panchanathan is named solely for purposes of obtaining complete relief.

13          72.     Defendant United States Office of Management and Budget (“OMB”) is a federal

14   agency headquartered in Washington, D.C. OMB is a federal agency within the meaning of the

15   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). OMB is one of the Federal Agency

16   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

17   the February 14, 2025 OPM email. Defendant OMB is named solely for purposes of obtaining

18   complete relief.

19          73.     Defendant Russell Vought is the Director of OMB and is sued in his official capacity.

20   Defendant Vought is named solely for purposes of obtaining complete relief.

21          74.     Defendant United States Small Business Administration (“SBA”) is a federal agency

22   headquartered in Washington, D.C. SBA is a federal agency within the meaning of the

23   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). SBA is one of the Federal Agency

24   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

25   the February 14, 2025 OPM email. Defendant SBA is named solely for purposes of obtaining

26   complete relief.
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                        15
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 17 of 65




 1          75.     Defendant Kelly Loeffler is the Administrator of the SBA and is sued in her official

 2   capacity. Defendant Loeffler is named solely for purposes of obtaining complete relief.

 3          76.     Defendant United States Social Security Administration (“SSA”) is a federal agency

 4   headquartered in Baltimore, Maryland. SSA is a federal agency within the meaning of the

 5   Administrative Procedure Act (“APA”), 5 U.S.C. § 551(1). SSA is one of the Federal Agency

 6   Defendants that was ordered by OPM to terminate probationary employees, including by receiving

 7   the February 14, 2025 OPM email. Defendant SSA is named solely for purposes of obtaining

 8   complete relief.

 9          77.     Defendant Leland Doudek is the Acting Commissioner of the SSA and is sued in his

10   official capacity. Defendant Doudek is named solely for purposes of obtaining complete relief.

11          78.     The “Federal Agency Defendants” include all those federal agencies and their agency

12   heads that were ordered by OPM to terminate probationary employees, as identified in the preceding

13   paragraphs ¶¶34-76.

14          79.     The Federal Agency Defendants are each named solely pursuant to Rule 19(a)(1)(A)

15   for purposes of effectuating complete relief as to Claims One through Four against Defendants OPM

16   and Ezell.

17                                       FACTUAL ALLEGATIONS

18   I.     Statutes and Regulations Governing Termination of Federal Employment

19          A.      Congressional Authorization to Federal Agencies and OPM

20          80.     Congress created the federal agencies that employ federal workers through an exercise

21   of its Article I legislative power. The executive agencies of the federal government are identified in

22   various statutes, including 5 U.S.C. § 101 (listing agencies).

23          81.     Each agency has its own authorizing statutes that govern its administration, including

24   statutory provisions that authorize one or more individuals to act as the head of the agency. See e.g.,

25   10 U.S.C. §§ 111, 113 (Defense); 12 U.S.C. § 5491 (CFPB); 16 U.S.C. § 551 (Agriculture/Forest

26   Service); 26 U.S.C. §§ 7801, 7803 (IRS); 38 U.S.C. §§ 301, 303 (VA); 42 U.S.C. §§ 202, 203 (HHS);
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           16
     Case 3:25-cv-01780-WHA           Document 90       Filed 03/11/25      Page 18 of 65




 1   42 U.S.C §§ 281, 282 (NIH); 42 U.S.C. §§3411, 3412 (Education); 42 U.S.C. § 7131 (Energy); 51

 2   U.S.C. § 20111 (NASA).

 3          82.    Congress has also authorized, in these agency-specific establishing statutes, each

 4   agency head to exercise powers of management over that agency and its employees, including the

 5   hiring and firing of employees, consistent with any generally applicable laws. For example:

 6
        •   26 U.S.C. §§ 7803, 7804 (IRS: “the Commissioner of Internal Revenue is authorized to
 7          employ such number of persons as the Commissioner deems proper for the administration and
 8          enforcement of the internal revenue laws, and the Commissioner shall issue all necessary
            directions, instructions, orders, and rules applicable to such persons.”);
 9
        •   42 U.S.C. §§ 7231, 7253 (Energy: “In the performance of his functions the Secretary is
10
            authorized to appoint and fix the compensation of such officers and employees, including
11          attorneys, as may be necessary to carry out such functions. Except as otherwise provided in
            this section, such officers and employees shall be appointed in accordance with the civil
12          service laws …”; “the Secretary is authorized to establish, alter, consolidate or discontinue
13          such organizational units or components within the Department as he may deem to be
            necessary or appropriate.”);
14
        •   20 U.S.C. § 3461 (Education: “The Secretary is authorized to appoint and fix the
15
            compensation of such officers and employees, including attorneys, as may be necessary to
16          carry out the functions of the Secretary and the Department. Except as otherwise provided by
            law, such officers and employees shall be appointed in accordance with the civil service laws
17          …”);
18
        •   42 U.S.C. § 203 (HHS: “The Secretary is authorized … to establish within them such
19          divisions, sections, and other units as he may find necessary; and from time to time abolish,
            transfer, and consolidate divisions, sections, and other units and assign their functions and
20
            personnel in such manner as he may find necessary for efficient operation of the Service.”);
21
        •   12 U.S.C. § 5492 (CFPB: “The Bureau is authorized to establish the general policies of the
22          Bureau with respect to all executive and administrative functions, including—…(7) the
23          appointment and supervision of personnel employed by the Bureau; (8) the distribution of
            business among personnel appointed and supervised by the Director and among
24          administrative units of the Bureau”);
25
        •   See also, e.g., 16 U.S.C. §§ 551, 554a, e (Agriculture; management and employment in Forest
26          Service); 38 U.S.C. §§ 303, 510 (VA: Secretary; “control, direction, and management of the
            Department”; “authority to reorganize offices”); 10 U.S. C. § 113 (DoD: Secretary; “authority,
27          direction, and control over the Department of Defense”); 42 U.S.C. § 282 (NIH: Director,
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         17
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 19 of 65




 1          management authority); 51 U.S.C. §§ 20111, 20113 (NASA: Administrator “shall have
            authority and control over all personnel and activities thereof.”).
 2

 3          83.     In addition to the specific authority granted to each agency head by these authorizing
 4   statutes, Congress also enacted a “General authority to employ” that applies to all federal agencies:
 5          Each Executive agency, military department, and the government of the District of Columbia
            may employ such number of employees of the various classes recognized by chapter 51 of
 6          this title as Congress may appropriate for from year to year.
 7
     5 U.S.C. § 3101.
 8
            84.     Besides this specific authority regarding employment decisions, Congress also
 9
     delegated general authority to each federal agency head to adopt regulations “for the government of
10
     his department, the conduct of its employees, the distribution and performance of its business…” 5
11
     U.S.C. § 301; see also 5 U.S.C. § 302 (authorizing agency heads to delegate their authority to
12
     subordinate employees).
13
            85.     Congress also enacted the Civil Service Reform Act of 1978 (“CSRA”) to establish
14
     uniform standards for agencies and civil service employment across the federal government. 5
15
     U.S.C. § 2101 (defining “civil service”); § 2015 (defining “employee”). The provisions of the CSRA
16
     include statutes governing agency termination of employees for cause based on performance (5
17
     U.S.C. § 4303(a); 5 U.S.C. § 7513(a)), and agency layoffs (“reductions in force, or “RIFs”) (5 U.S.C.
18
     § 3502).
19
            86.     Congress also established the OPM by statute. 5 U.S.C. § 1101. Congress did not
20
     authorize the OPM to hire or fire any federal employees employed by any agency other than OPM
21
     itself. 5 U.S.C. §§ 1102, 1103. Rather, OPM’s role, as established by Congress, is to act as the
22
     human resources agency for the federal government, including by creating and publishing
23
     government-wide rules in compliance with the APA. 5 U.S.C. §§ 1103, 1105. OPM’s authority with
24
     respect to the termination of employees of other agencies and departments is limited to providing
25
     technical assistance and writing regulations. 5 U.S.C. §§ 4304, 4305, 7514.
26
            87.     As the Acting Solicitor General recently confirmed in a petition to the U.S. Supreme
27
     Court on behalf of the President and other federal officials, “[a]gency heads control hiring and firing
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          18
     Case 3:25-cv-01780-WHA            Document 90         Filed 03/11/25     Page 20 of 65




 1   decisions for subordinates—here, an agency of over 100 people who perform important investigative

 2   and enforcement functions affecting the entire federal workforce.” Thus, in support of its request to

 3   vacate a district court temporary restraining order reinstating the head of the Office of Special

 4   Counsel, the federal government argued that the President’s inability to remove the head of the

 5   agency deprived him of the power to control agency’s employees—because only the agency head is

 6   authorized to hire and fire an agency’s employees.1

 7          B.      Probationary and Trial-Period Employees in Federal Service

 8          88.     Approximately 200,000 probationary employees are employed in agencies throughout

 9   the federal government nationwide.2 Of these, at least 15,000 are employed in California, providing

10   services that range from fire prevention to veterans’ care.

11          89.     OPM’s mass termination program has swept up two categories of federal employees,

12   whose employment is governed by statute and regulation: probationary employees in the

13   “competitive” service, and employees within their first two years of employment in a position in the

14   “excepted” service. Plaintiffs refer herein to all such employees as “probationary employees.”

15          90.     Probationary employees in the competitive service are, with some exceptions, those

16   who have been employed in their current position for less than one year. 5 U.S.C. §

17   7511(a)(1)(A)(ii); 5 C.F.R. § 315.801. Employees are appointed as “career” or “career-conditional

18   employees” subject to completing the probationary period. 5 C.F.R. § 315.201(a).

19          91.     The probationary period provides the opportunity for the federal agency to assess the

20   individual performance of the employee. Under governing OPM regulations, an agency “shall utilize

21   the probationary period as fully as possible to determine the fitness of the employee and shall

22   terminate his or her services during this period if the employee fails to demonstrate fully his or her

23   qualifications for continued employment.” 5 C.F.R. § 315.803(a).

24

25      1
            Application to Vacate the Order Issued by the U.S. District Court for the District of Columbia
     and Request for an Immediate Administrative Stay, Bessent v. Dellinger, No. 24A790,
26   https://www.documentcloud.org/documents/25536868-dellinger-scotus-emergency-
     filing/?mode=document at 27 (filed U.S. Supreme Court Feb. 16, 2025).
27        2
            https://www.businessinsider.com/trump-administration-fired-probationary-federal-workers-
28   veterans-affairs-agencies-2025-2
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           19
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 21 of 65




 1          92.     Most employees in the excepted service are also subject to a statutory trial period of

 2   two years, which, like the probationary period in the competitive service, is intended to permit the

 3   agency to evaluate the employee’s performance and fitness for long-term employment in that

 4   position. 5 U.S.C. § 7511(a)(1)(C)(ii).

 5          93.     Probationary employees throughout the federal government often have many years (or

 6   even decades) of federal service, and can include those who have transferred to a new agency or who

 7   are newly promoted to supervisory or management positions.

 8          C.      Regulations Governing the Termination of Probationary Employees

 9          94.     Federal agencies may lawfully terminate probationary employees based on the

10   agency’s assessment of the employee’s performance during the probationary period, pursuant to

11   5 C.F.R. § 315.804(a), which is entitled: “Termination of probationers for unsatisfactory performance

12   or conduct.”

13          95.     Under that regulation, “when an agency decides to terminate an employee serving a

14   probationary or trial period because his work performance or conduct during this period fails to

15   demonstrate his fitness or his qualifications for continued employment, it shall terminate his services

16   by notifying him in writing as to why he is being separated and the effective date of the action.” 5

17   C.F.R. § 315.804(a). “The information in the notice as to why the employee is being terminated

18   shall, as a minimum, consist of the agency’s conclusions as to the inadequacies of his performance or

19   conduct.” Id. Trial-period employees in the excepted service have the same notice rights when

20   removed from their positions for performance reasons. 5 C.F.R. § 316.304.

21          96.     Federal agencies may also lawfully terminate a probationary employee “for reasons

22   based in whole or in part in conditions arising before his appointment.” 5 C.F.R. § 515.805.

23          D.      Statutes and Regulations Governing the Termination of Employees as Part of a
                    RIF
24
            97.     Federal agencies may also terminate probationary employees as part of an agency RIF.
25
     An agency may conduct a RIF “to reduce the size of its workforce.” Tiltti v. Weise, 155 F.3d 596, 601
26
     (2d Cir. 1998). “RIFs are not aimed at removing particular individuals; rather, they are directed
27
     solely at positions.” Grier v. Dep’t of Health & Hum. Servs., 750 F.2d 944, 945 (Fed. Cir. 1984).
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          20
     Case 3:25-cv-01780-WHA              Document 90      Filed 03/11/25      Page 22 of 65




 1          98.     Agencies must follow specific statutory directives in conducting a RIF, including

 2   detailed requirements for retention preferences, considerations for veterans, and the consideration of

 3   tenure of employment and length of service. 5 U.S.C. § 3502(a)(1), (3). Congress delegated to OPM

 4   the authority to promulgate regulations that agencies must follow in implementing RIFs. 5 U.S.C. §

 5   3502(a).

 6          99.     Pursuant to that statutory authorization, and through notice-and-comment rulemaking,

 7   OPM has issued detailed regulations setting forth the procedures by which RIFs must be conducted.

 8   See 5 C.F.R. Part 351. These RIF regulations apply whenever an agency determines that it is

 9   necessary to release employees “because of lack of work; shortage of funds; insufficient personnel

10   ceiling; reorganization; the exercise of reemployment rights or restoration rights; or reclassification

11   of an employee’s position due to erosion of duties … .” 5 C.F.R. § 351.201(a)(2).

12          100.    All agencies of the federal government are required to comply with the RIF

13   regulations whenever an agency “determines that a reduction force is necessary.” 5 C.F.R. § 351.204;

14   see also 5 C.F.R. § 351.201(c) (“Each agency is responsible for assuring that the provisions in this

15   part are uniformly and consistently applied in any one reduction in force.”).

16          101.    The RIF regulations apply to employees in the competitive and excepted services. 5

17   C.F.R. § 351.202(a), (b). Probationary employees are expressly protected by the RIF regulations. 5

18   C.F.R. §§ 351.501(b)(2), 351.502(b)(2). Probationary employees are included in “group II” of three

19   groups of employees, and may only be released, in order of retention, after the release of “group III”

20   employees, a group that includes employees under various temporary, term, and other provisional

21   appointments. 5 C.F.R. § 351.501(b).

22          102.    Before conducting a RIF, a federal agency must establish “competitive areas in which

23   employees compete for retention.” 5 C.F.R. § 351.402. Thus, RIFs are not conducted based on

24   agency-wide seniority. Many probationary employees are veterans or would otherwise be entitled to

25   preference in the event of a RIF.

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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           21
     Case 3:25-cv-01780-WHA             Document 90        Filed 03/11/25     Page 23 of 65




 1             103.   The RIF regulations require that employees receive notice of at least 60 days before

 2   being released from employment, or at least 30 days from when the RIF is caused by circumstances

 3   that were not reasonably foreseeable. 5 C.F.R. § 351.801(a), (b).

 4             104.   The governing statute and the RIF regulations also require that states and local

 5   governments be notified in advance of RIFs of 50 or more employees in an affected geographic area

 6   so they can be prepared to assist affected employees. 5 U.S.C. § 3502; 5 C.F.R. § 351.803.

 7   II.       OPM’s Unlawful February 13, 2025 Order to Fire Probationary Employees Across the
               Nation
 8
               105.   Before the first day of the new Presidential Administration, OPM had never taken the
 9
     position that it had the authority to direct other agencies to terminate employees. As of early January
10
     2025, the Acting OPM Director was Rob Shriver. On January 16, 2025, he issued a press release, and
11
     gave an interview discussing OPM’s work with agencies throughout the federal government on issues
12
     ranging from “skills-based federal hiring”; the “”retirement claims backlog”; a “new health insurance
13
     program for Postal workers”; and, significantly, “how agencies recruit and retain early-career
14
     employees.” (Emphasis added).3 No mention was made of any federal government plan to terminate
15
     the employment of probationary employees at any agency, or across the nation.
16
               106.   Before January 20, 2025, OPM had made no public statement regarding any program
17
     to terminate probationary employees. Neither had any agency in the federal government made any
18
     public statement regarding any desire to terminate probationary employees. No union or group of
19
     federal employees had been provided any notice of any program or decision to terminate
20
     probationary employees. On information and belief, before January 20, 2025, OPM had no plans to
21
     order federal agencies to terminate their probationary employees, and no agency had such a plan.
22
               107.   Before January 20, 2025, no OPM Director had ever taken the position that OPM had
23
     the legal authority to direct agencies to terminate the employment of employees of other federal
24
     agencies.
25

26
27         3
          https://federalnewsnetwork.com/workforce/2025/01/after-years-of-work-opm-is-hitting-on-all-
28   cylinders-acting-director-says/.
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            22
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25    Page 24 of 65




 1          108.    On January 20, 2025, the first day of the incoming Presidential Administration,

 2   President Donald J. Trump appointed Charles Ezell to serve as Acting OPM Director.

 3          109.    The same day, Acting OPM Director Ezell distributed a memo to “Heads and Acting

 4   Heads of Departments and Agencies” regarding “Guidance on Probationary Periods, Administrative

 5   Leave and Details.” In this memo, Acting Director Ezell directed department and agency heads to

 6   submit to OPM, no later than January 24, 2025, a report listing all “employees on probationary

 7   periods, who have served less than a year in a competitive service appointment, or who have served

 8   less than two years in an excepted service appointment.”4 The memorandum directed agencies to

 9   “promptly determine whether these employees should be retained at the agency.”5

10          110.    OPM required agencies to adhere to a 200-character limit in any explanation provided

11   as to why any individual employee should be retained by the agency.6

12          111.    On February 11, 2025, President Trump issued Executive Order 14210, entitled

13   “Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization

14   Initiative.”7 The Executive Order instructed that “Agency Heads shall promptly undertake

15   preparations to initiate large-scale reductions in force (RIFs).”8

16          112.    OPM did not wait for agencies to plan for or initiate any RIF.

17          113.    On or about February 13, 2025, OPM officials met with agency leaders across the

18   federal government and directed them to begin firing their probationary employees without following

19   RIF procedures.9

20

21      4
           https://www.opm.gov/media/yh3bv2fs/guidance-on-probationary-periods-administrative-leave-
     and-details-1-20-2025-final.pdf
22       5
            Id.
23       6
           https://federalnewsnetwork.com/workforce/2025/02/opm-asks-agencies-to-justify-keeping-
     probationary-employees/
24       7
           https://www.whitehouse.gov/presidential-actions/2025/02/implementing-the-presidents-
25   department-of-government-efficiency-workforce-optimization-initiative/
         8
            Id.
26       9
           https://thehill.com/homenews/administration/5144113-federal-probationary-employees-fired/
27   (Feb. 13, 2025); https://www.washingtonpost.com/dc-md-va/2025/02/13/trump-administration-fires-
     probationary-federal-workers/ (Feb. 13, 2025); https://apnews.com/article/trump-federal-workers-
28   layoffs-doge-406752da1614755b8fabe9c94e0c71a8 (Feb. 13, 2025).
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                        23
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 25 of 65




 1            114.   CBS News has reported that: “The decision on probationary workers, who

 2   generally have less than a year on the job, came from the Office of Personnel Management, which

 3   serves as a human resources department for the federal government. The notification was confirmed

 4   by a person familiar with the matter, who spoke on condition of anonymity because they weren't

 5   authorized to discuss it publicly.” (Boldface added.)10

 6            115.   On information and belief, as of February 13, 2025, prior to the order from OPM, no

 7   federal agency intended to terminate its probationary employees en masse, and no agency intended to

 8   terminate probationary employees (other than on an individualized basis for actual performance or

 9   conduct reasons) without complying with RIF procedures.

10            116.   On February 14, 2025, OPM sent an email with the subject “Follow up: CHCO

11   Council Special Session.”11 The CHCO is the “Chief Human Capital Officers Council,” an entity

12   established by statute.12 The statutory purpose of the CHCO is publicly set forth:

13            The CHCO Council is the principal interagency forum to advise and coordinate the activities
              of the agencies of its members on such matters as modernization of human resources systems,
14            improved quality of human resources information and legislation affecting human resources
              operations and organization13
15

16   The CHCO statutory mandate does not include acting as a conduit for OPM orders to agencies

17   regarding their employees, or receiving or effectuating instruction from OPM on terminating any

18   employees.

19            117.   OPM sent the February 14 email to the “CHCOs and Deputy CHCOs.” OPM’s public

20   website identifies all of the following individuals as CHCOs and Deputy CHCOs of the agencies:

21            •   Agriculture (CHCO Anita Adkins; Acting Deputy CHCO Michelle Long)

22

23      10
             https://www.cbsnews.com/news/federal-layoffs-probationary-workers-warnings-bigger-cuts-on-
24   way/
        11
            This email was revealed for the first time to the public on February 26, 2025 as an exhibit to the
25   Ezell Declaration in support of Defendants’ opposition to the TRO in this case, which was submitted
     after the filing of Plaintiffs’ First Amended Complaint. A copy of the document submitted by
26   Defendants is attached hereto as Exhibit A.
         12
27          CHCO was created by the Chief Human Capital Officers Act of 2002 (Act), which was enacted
     as part of the Homeland Security Act, Public Law 107-296.
         13
28          https://beta.chcoc.gov/static/content/CHCOCouncilCharterFinal20211214.pdf
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           24
     Case 3:25-cv-01780-WHA      Document 90      Filed 03/11/25    Page 26 of 65




 1        •   Commerce (CHCO Jessica Palatka; Deputy CHCO VACANT)
 2        •   Defense (CHCO Zev Goldrich; Acting Deputy CHCO Daniel Hester)
 3        •   Education (CHCO Jacqueline Clay; Deputy CHCO Bonnie Hochhalter])
 4        •   Energy (CHCO Erin Moore; Deputy CHCO Todd Turner)
 5        •   HHS (CHCO Jeffery Anoka, Deputy CHCO Jonathan Gardner)
 6        •   Homeland Security (CHCO Roland Edwards, Deputy CHCO Roger Brown)
 7        •   HUD (CHCO Lori Michalski, Deputy CHCO Priscilla Clark)
 8        •   Interior (CHCO Mark Green, Deputy CHCO Jennifer Ackerman)
 9        •   Justice (CHCO Mike Williams, Deputy CHCO VACANT)
10        •   Labor (CHCO Sydney Rose, Deputy CHCO Carin Otero)
11        •   State (CHCO Marcia Bernicat, Deputy CHCO Jameela Akbari)
12        •   Treasury (CHCO Trevor Norris, Deputy CHCO VACANT)
13        •   Transportation (CHCO VACANT, Deputy CHCO Anne Audet)
14        •   VA (CHCO Tracey Therit, Deputy CHCO VACANT)
15        •   EPA (CHCO Helena Wooden-Aguilar, Deputy CHCO Mara Kamen)
16        •   GSA (CHCO Arron Helm, Deputy CHCO Jermey Taylor)
17        •   NASA (CHCO Kelly Elliot, Deputy CHCO Anne Roemer)
18        •   NSF (CHCO Wonzie Gardner, Deputy CHCO Eric Dilworth)
19        •   OMB (CHCO Sarah Spoone, Deputy CHCO VACANT)
20        •   OPM (CHCO Carmen Garcia< Deputy CHCO Joe Knouff)
21        •   Office of the Dir. Nat. Intelligence (CHCO Cynthia Snyder; Deputy CHCO VACANT)
22        •   SBA (CHCO Elias Hernandez, Deputy CHCO Julie Brill)
23        •   SSA (CHCO Florence Felix-Lawson, Deputy CHCO Kristen Medley-Proctor)
24        •   USAID (CHCO Cynthia Snyder, Deputy CHCO Sheila Wright)
25

26
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                25
      Case 3:25-cv-01780-WHA           Document 90       Filed 03/11/25     Page 27 of 65




 1            •   Small Agency Human Resources Council Chair Arrie Etheridge; Deputy Chair Star
 2                Anderson)14

 3            118.   The Small Agency Council is an “association of sub-Cabinet, independent Federal

 4   agencies,” that “represents about 80 small agencies.” The Small Agency Council Human Resources

 5   representatives “supports these employees by working with OPM and the CHCO Council on the

 6   various Government-wide priorities.”15

 7            119.   The Merit Systems Protection Board (“MSPB”) and Federal Labor Relations

 8   Authority (“FLRA”) are members of the Small Agency Council and are among the small independent

 9   agencies instructed by the February 14 email to terminate probationary employees.16

10            120.   In the February 14 email, OPM instructed these CHCOs and Deputy CHCOs at each

11   federal agency as to the “immediate next steps for probationary employees.” OPM stated: “We have

12   asked that you separate probationary employees that you have not identified as mission-critical no

13   later than end of day Monday, 2/17 [President’s Day, a federal holiday]. We have attached a template

14   letter.” The email further instructed agencies that “OPM believes ‘qualifications for continued

15   employment’ in the current context means that only the highest-performing probationers in mission-

16   critical areas should be retained.”

17            121.   The February 14, 2025 email then instructed agencies that, “[a]fter actioning”

18   (emphasis added), they must update their previous probationary worker spreadsheets and submit

19   those lists to OPM, and continue to do so every day.

20            122.   OPM’s template letter attached to the February 14 email stated:

21            MEMORANDUM FOR [EMPLOYEE], [TITLE], [ORGANIZATION]
              FROM: [NAME]
22            [TITLE]
              SUBJECT: Notification of Termination During Probationary Period
23
              REFERENCES: 5 U.S.C. § 7511
24            [5 U.S.C. § 3321(a)]
              [5 C.F.R. §§ 315.803 and 804]
25

26       14
             https://beta.chcoc.gov/members
        15
27          https://www.chcoc.gov/content/small-agency-human-resources-council-sahrc
         16
            E.g.,https://www.chcoc.gov/content/small-agency-human-resources-council-sahrc and
28   https://www.sac.gov/about/members.htm
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         26
     Case 3:25-cv-01780-WHA          Document 90        Filed 03/11/25       Page 28 of 65




 1        [5 C.F.R. § 316.304]
          [INSERT AGENCY POLICY]
 2
          This is to provide notification that the Agency is removing you from your position of
 3
          [TITLE] and federal service during your probationary/trial period consistent with the above
 4        references.

 5        On [INSERT DATE OF APPOINTMENT], the Agency appointed you to the position
          of [TITLE]. As documented on your appointment Standard Form 50 (SF-50), your
 6        appointment is subject to a probationary/trial period. [The agency also informed you of this
          requirement in the job opportunity announcement for the position.]
 7

 8        Guidance from the Office of Personnel Management (“OPM”) states, “An
          appointment is not final until the probationary period is over,” and the probationary period
 9        is part of “the hiring process for employees.”1 “A probationer is still an applicant for a
          finalized appointment to a particular position as well as to the Federal service.” 2 “Until the
10        probationary period has been completed,” a probationer has “the burden to demonstrate why
11        it is in the public interest for the Government to finalize an appointment to the civil service
          for this particular individual.”3 Furthermore, OPM has emphasized that individual employee
12        performance measurement should be aligned with and support organizational goals and focus
          employee efforts on achieving organizational and group goals. In addition, OPM has
13        instructed Agencies to consider whether an employee’s performance is in the best interest of
          the government, in light of the President’s directive to dramatically reduce the size of the
14        federal workforce.
15
          Based on the OPM guidance referenced above, the Agency finds, based on your
16        performance, that you have not demonstrated that your further employment at the
          Agency would be in the public interest. For this reason, the Agency informs you that the
17        Agency is removing you from your position of [TITLE] with the Agency and the federal civil
          service effective [insert date and time, if necessary].
18

19        You may have a right to file an appeal with the Merit Systems Protection Board (MSPB) on
          the limited grounds set forth in 5 C.F.R. § 315.806. Any such appeal must be filed within 30
20        days of the effective date of this notice or 30 days after the date of your receipt of this notice,
          whichever is later. You should review MSPB regulations at 5 C.F.R. §§ 1201.14 and 1201.24
21        for instructions on how to file an electronic appeal and content requirements of the appeal,
          respectively. For more information, please visit www.mspb.gov or contact your local MSPB
22
          regional or field office at: [INSERT MSPB REGIONAL OR FIELD OFFICE CONTACT
23        INFORMATION].

24        We appreciate your service to the Agency and wish you the greatest of success in
          your future endeavors. If you have any questions, please contact [CONTACT].
25
          [INSERT NAME OF AGENCY OFFICIAL]
26
          [INSERT TITLE OF AGENCY OFFICIAL]
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           27
     Case 3:25-cv-01780-WHA              Document 90       Filed 03/11/25     Page 29 of 65




 1   [emphasis added].17

 2               123.   OPM later followed up with “FAQs” provided to agencies regarding this directive.

 3   Those FAQs instructed agencies that “‘qualifications for continued employment’ means that only the

 4   highest-performing probationers in mission critical areas should be retained” and “The notice must

 5   include the agency’s conclusions as to the inadequacies of the employee’s performance or conduct.”

 6   OPM also instructed agencies to use the “codes” for “processing” terminations for “unacceptable or

 7   unsatisfactory performance” and instructed the agencies (twice) that the “codes should be consistent

 8   with the reasons the agency stated in the termination notices” that OPM gave them to use. Finally,

 9   OPM instructed agencies that they need not provide employee unions with notice or information

10   regarding the termination of probationary and trial employees.

11               124.   On information and belief, OPM has lists containing every probationary employee

12   terminated as a result of its orders throughout the federal government, because it ordered agencies to

13   submit those reports to OPM Chief of Staff on a daily basis.

14   III.        Federal Agencies’ Immediate and Ongoing Implementation of OPM’s Unlawful
                 Directive
15
                 125.   Agencies across the federal government began acting on OPM’s February 13, 2025
16
     directive immediately through chaotic mass terminations of their probationary employees.18
17
                 126.   Tens of thousands of probationary employees have already been subjected to mass
18
     terminations, with no advance notice, by agencies across the federal government, including
19
     employees at the following agencies:
20
                 U.S. Forest Service19
21               Department of Veterans Affairs20
22

23
             A copy of OPM’s template is attached hereto as Exhibit B.
            17
24          18
            https://www.washingtonpost.com/politics/2025/02/14/trump-firing-probation-workforce-
25   buyouts-layoffs-doge/f816fbea-eb23-11ef-969b-cfbefacb1eb3_story.html
         19
             https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
26   government-2025-02-13/; https://www.sfgate.com/california-parks/article/joshua-tree-yosemite-
     locals-protest-mass-layoffs-20174425; https://www.nytimes.com/2025/02/18/climate/trump-layoffs-
27   park-and-forest-service-workers.html
         20
             Id.; https://www.washingtonpost.com/nation/2025/02/17/trump-fires-federal-workers-
28   performance/
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          28
     Case 3:25-cv-01780-WHA          Document 90       Filed 03/11/25     Page 30 of 65




 1           Department of Education21
             National Science Foundation22
 2           General Services Administration23
             Small Business Administration24
 3           Consumer Financial Protection Bureau25
             Department of Energy26
 4           National Nuclear Security Administration27
             Department of Housing and Urban Development28
 5           Centers for Disease Control29
             National Park Service30
 6           National Institutes of Health31
             Environmental Protection Agency32
 7           Bureau of Reclamation33
             Department of Interior34
 8           Bonneville Power Administration35
             US Department of Agriculture36
 9           Bureau of Land Management37
             US Fish and Wildlife Service38
10

11
        21
            https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
12   government-2025-02-13/
         22
            https://www.wired.com/story/national-science-foundation-february-2025-firings/;
13   https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html.
         23
            https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
14   government-2025-02-13/
         24
            https://www.businessinsider.com/federal-workers-fired-not-fired-then-terminated-sba-2025-2
15       25
            https://www.reuters.com/world/us/mass-firings-federal-workers-begin-trump-musk-purge-us-
     government-2025-02-13/
16       26
            https://www.eenews.net/articles/doe-to-lay-off-probationary-staff-today/
         27
17          https://www.npr.org/2025/02/13/nx-s1-5296928/layoffs-trump-doge-education-energy
         28
            https://www.nbcnews.com/politics/white-house/trump-administration-federal-agencies-fire-
18   probationary-employees-rcna192149
         29
            https://apnews.com/article/trump-firing-probation-workforce-buyouts-layoffs-doge-
19   159a6de411622c2eb651016b1e99da37
         30
            https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html
20   (1000 NPS employees)
         31
            https://www.nbcwashington.com/news/president-trump-politics/taking-away-years-of-
21   experience-nih-probationary-employees-fired-friday/3845749/
         32
22          https://abcnews.go.com/US/agencies-federal-workers-fired/story?id=118901289
         33
            https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html
23       34
            Id. (1300 Interior Dept employees fired over holiday weekend).
         35
            https://www.opb.org/article/2025/02/19/bonneville-power-administration-reverses-30-job-cuts-
24   continues-with-plans-to-eliminate-430-positions/
         36
            https://www.npr.org/2025/02/18/nx-s1-5300150/among-the-federal-workers-fired-usda-
25   workers-who-keep-food-safe-and-crops-growing
         37
26          https://www.nytimes.com/2025/02/18/us/politics/national-science-foundation-firings.html;
     https://www.cnn.com/2025/02/14/politics/probationary-federal-employees-agencies-firings-
27   doge/index.html
         38
            https://www.cnn.com/2025/02/14/politics/probationary-federal-employees-agencies-firings-
28   doge/index.html
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                      29
     Case 3:25-cv-01780-WHA            Document 90       Filed 03/11/25      Page 31 of 65




 1           Cybersecurity and Infrastructure Security Agency39
             US Citizenship and Immigration Services40
 2           Federal Emergency Management Agency41
             Federal Aviation Administration42
 3           Department of Transportation43
             Food and Drug Administration44
 4           National Highway Traffic Safety Administration45
             Pipelines and Hazardous Materials Safety Administration46
 5           Centers for Medicare & Medicaid Services47
             Substance Abuse and Mental Health Services Administration48
 6           Federal Deposit Insurance Corporation49

 7           127.   While implementing OPM’s orders, numerous federal agencies informed workers that

 8   OPM ordered the terminations. For example, at the National Science Foundation meeting for

 9   probationary employees, employees were told the following:

10           You’ve been invited here today because you were either a probationary employee or you are
             an expert on intermittent appointment.
11
             We’ve asked you here today to tell you face to face that we will be terminating your
12
             employment at the end of the day today.
13
             We’ve been directed by the administration to remove all term probationary employees.
14
             Today at 11 o’clock, each of you will receive a termination letter by email.
15

16

17
        39
18          https://thehill.com/homenews/5154340-dhs-fires-probationary-employees/
        40
            Id.
19       41
            https://www.politico.com/news/2025/02/19/fema-email-firings-affect-majority-staff-00204779
         42
            https://apnews.com/article/doge-faa-air-traffic-firings-safety-
20   67981aec33b6ee72cbad8dcee31f3437
         43
21          https://www.nbcphiladelphia.com/news/national-international/transportation-department-
     workers-with-exceptional-reviews-told-theyre-fired-for-performance-
22   issues/4111423/?os=iosdF&ref=app
         44
            https://www.nytimes.com/2025/02/18/us/politics/fda-food-safety-jim-jones-resignation.html
23   (terminated workers “included people with specialized skills in infant formula safety and food safety
     response”; FDA food safety chief resigns because “loss of critical employees overseeing the nation’s
24   food supply made his work impossible”).
         45
            https://www.politico.com/news/2025/02/18/layoffs-auto-pipeline-safety-00204715
25       46
            Id.
         47
            https://www.fiercehealthcare.com/regulatory/mass-layoffs-hhs-cdc-cuts-1300-probationary-
26   workers-reports-say
         48
27          Id.
         49
            https://www.reuters.com/world/us/fdic-fires-new-employees-part-broader-government-layoffs-
28   2025-02-18/
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                         30
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 32 of 65




 1          At 1 p.m, you will lose access to the network[.] And at the end of the day today, you'll be
            terminated.
 2
            You ready? You have one more thing. You have the option to resign in lieu of termination.
 3

 4          That may be beneficial to you. If you choose to resign, you will not be eligible for
            unemployment.
 5
            However, if asked when you apply for future positions, you will be able to say that you were
 6          not terminated.
 7
            So for those of you that have federal benefits. Sorry. Okay. For those of you that have
 8          federal benefits, your health insurance will be terminated at the end of the pay period.

 9          Your federal dental and vision insurance plan, they will terminate at the end of the pay period.
            There is no extension for coverage under FedVIP.
10          …
11          This is in executing Government-wide guidance from the administration. I’m sure you’ve
            read in the news that all agencies are terminating probationary employees.
12          …
            So there was no limited discretion. This is not a decision the agency made. This is a
13          direction we received, first of all. Second of all, this is the first of many forthcoming
            workforce reductions.
14          …
15          We are following orders. We are part of the executive branch. We follow that. I apologize for
            people that have made life-changing career moves.
16          …
            We were directed last Friday by OPM to terminate all probationers except for a minimal
17          number of mission critical probationers.
            Mission critical determination, first of all, it is exceptionally small number that we’re
18          permitted to have.
19          …
            There’s no negotiation, first of all. And second of all, the administration has already
20          announced its intention to significantly reduce the workforce.

21          It is only a matter of time. It is not today is not the only workforce reduction that we will do.
22          (Emphasis added.)
23          128.    The NSF explained that the agency had previously been told that it would have
24   discretion to retain workers, and had in fact made the decision to retain all of its probationary
25   employees, only to have OPM issue a superseding order on February 13, 2025 requiring the agency
26   to terminate everyone:
27          We did. In the last two weeks. Up until Friday. Yes. We were told by OPM it was the
            agency’s discretion whether to remove probations or not.
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            31
     Case 3:25-cv-01780-WHA           Document 90       Filed 03/11/25     Page 33 of 65




 1
            We chose to retain them all. Last Friday night.
 2
            They gave direction to there was some direction that was given to cabinet level agencies. And
 3
            so you saw those actions taking place at the end of last week.
 4
            But the directions we received were it was our discretion. And late, late Friday night….
 5
            They told us that they directed us to remove probationers.
 6
            (Emphasis added.)
 7
            129.   Under oath at a congressional hearing on February 25, 2025, Tracey Therit, the Chief
 8
     Human Capital Officer of the VA, responded to questioning:
 9
            RANKING MEMBER TAKANO: So nobody ordered you to carry out these terminations?·
10
            You did it on your own?
11
            MS. THERIT: There was direction from the Office of Personnel Management.
12
            130.   Other agencies across the government have also told the public and their employees
13
     the same thing: that OPM ordered the terminations, including in the following documented instances:
14
               •   In an online town hall for IRS employees, the IRS CHCO told employees, “Regarding
15                 the removal of the probationary employees, again, that was something that was
                   directed from OPM. And even the letters that your colleagues received yesterday were
16                 letters that were written by OPM, put forth through Treasury, and given to us.” The
17                 IRS CHCO was one of the recipients of the February 14 email.

18             •   On February 26, 2025, Civilian Personnel Policy Council Members at the Department
                   of Defense (DoD) received an email from Defense Civilian Personnel Advisory
19                 Service Director Daniel J. Hester stating: “In accordance with direction from OPM,
                   beginning February 28, 2025, all DoD Components must terminate the employment of
20
                   all individuals who are currently serving a probationary or trial period.” The
21                 termination letters were sent to DoD employees by the Dod CHCO. The DoD CHCO
                   was one of the recipients of the February 14 email.
22
               •   Termination letters to employees at the Bonneville Power Administration stated: “Per
23                 OPM instructions, DOE finds that your further employment would not be in the public
24                 interest. For this reason, you are being removed from your position with DOE and the
                   federal civil service.”
25
               •   USDA’s Deputy CHCO told USDA employee: “Last night, agencies were notified by
26                 the Office of Personnel Management (OPM) that the Administration has decided
                   probationary employees are not eligible for the Deferred Resignation program and also
27                 that these employees are to be terminated.” The USDA CHCO was one of the
28                 recipients of the February 14 email.
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                        32
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 34 of 65




 1

 2          131.    OPM required agencies to use its template termination notices, which OPM created

 3   and provided to the agencies, to be sent to those agencies’ probationary employees, citing

 4   performance as the basis for the termination.

 5          132.    Reflecting that directive, many agencies have used identical or nearly identical text in

 6   letters notifying probationary employees of their termination. For example:

 7              a. Termination letters received by probationary employees in multiple agencies,

 8                  including the Departments of Homeland Security, Health and Human Services,

 9                  Agriculture, and Education, included identical introductory language stating as

10                  follows, with identical footnotes and footnote text:

11                         Guidance from the Office of Personnel Management (“OPM”) states,
                           “An appointment is not final until the probationary/trial period is over,”
12                         and the probationary/trial period is part of “the hiring process for
13                         employees.”[1] “A probationer is still an applicant for a finalized
                           appointment to a particular position as well as to the Federal
14                         service.”[2] “Until the probationary period has been completed,” a
                           probationer has “the burden to demonstrate why it is in the public
15
                           interest for the Government to finalize an appointment to the civil
16                         service for this particular individual.”[3]

17              b. Termination letters received by probationary employees in multiple agencies included
18                  the following boilerplate language describing the reasons for their termination: “The
19                  Agency finds, based on your performance, that you have not demonstrated that your
20                  further employment at the Agency would be in the public interest.” (Boldface added).
21              c. Similarly, termination letters received by probationary employees in multiple agencies
22                  included the following boilerplate language describing the reasons for their
23                  termination: “Unfortunately, the Agency finds that that you are not fit for continued
24                  employment because your ability, knowledge and skills do not fit the Agency’s current
25

26
27

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          33
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25       Page 35 of 65




 1                  needs, and your performance has not been adequate to justify further employment at

 2                  the Agency.” (Boldface added).50

 3           133.   At the National Science Foundation meeting reference above, employees were told the

 4   language in the letters came from the “boilerplate” language from OPM:

 5           “The cause comes from boilerplate we received from OPM. The cause says that the agency
             finds based on your performance that you have not demonstrated that your further
 6           employment at the agency would be in the public interest.”
 7
             134.   The termination letters issued to probationary employees cite, as authority for the
 8
     terminations, the regulations that govern terminations for performance reasons: 5 C.F.R. § 315.803
 9
     (directing agencies to terminate probationary employees “if the employee fails to demonstrate fully
10
     his or her qualifications for continued employment”); 5 C.F.R. § 315.804 (requiring notice of the
11
     reasons when an agency “decides to terminate an employee serving a probationary or trial period
12
     because his work performance or conduct during this period fails to demonstrate his fitness or his
13
     qualifications for continued employment,” including a statement of the “agency’s conclusions as to
14
     the inadequacies of [the employee’s] performance or conduct”); and 5 C.F.R. § 316.304 (entitling trial
15
     period employees in the excepted service to the same notice rights upon termination for performance
16
     reasons as probationary employees in the competitive service).
17
             135.   Despite the citation of these authorities in the template termination letters, the letters
18
     fail to provide any individualized reasons why the employees’ performance warranted termination.
19
     Many termination letters appear to have been created by means of mail merges. Some termination
20
     letters do not even specify the name of the employee being terminated.
21
             136.   The reference to employee performance in the mass termination letters and the citation
22
     to the authority for the termination of probationary employees for performance reasons is a pretext.
23

24

25      50
           Recent reporting by the Washington Post revealed similar templates and instructions by OPM to
     agencies in January and February 2025 with respect to employees unlawfully targeted for termination
26   and/or administrative leave because of perceived participation in work related to Diversity, Equity, and
     Inclusion programs. Washington Post, Feb. 15, 2025, Records show how DOGE planned Trump’s DEI
27   purge — and who gets fired next, available at: https://wapo.st/4jVWqEd.
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                             34
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 36 of 65




 1   The real reason for the mass terminations, as expressed by the incoming Presidential Administration,

 2   is to reduce the size of the federal workforce.

 3           137.   Many terminated probationary employees had received excellent performance reviews

 4   from their agencies. Supervisors were not consulted as to the performance of individual probationary

 5   employees before they were terminated. On information and belief, some probationary employees

 6   have subsequently been told by agency representatives that they were terminated solely because their

 7   agencies were being restructured, not based on any performance or conduct by the employee.

 8           138.   USA Today recently reported that “Fired probationary employees interviewed by USA

 9   TODAY all said they were never told of any performance problems. One hadn’t been in the job long

10   enough to have a performance review. Another was fired just a month into her job after relocating

11   from more than 1,700 miles away to take it. And a third employee said his supervisor explicitly told

12   him he wasn’t being terminated for performance reasons.51

13           139.   NBC News reported that although Department of Transportation probationary

14   employees received letters stating that they were being terminated for performance reasons, “most of

15   those employees were rated as being ‘exceptional’ performers by their supervisors.”52

16           140.   The Washington Post reported that: “One well-rated Veterans Affairs staffer texted her

17   boss to complain after she was fired. In text messages obtained by The Post, he replied, “It states it’s

18   due to your performance which is not true. … Your performance has nothing to do with this.’”53

19           141.   On information and belief, Defendants plan further waves of mass pretextual

20   terminations of probationary employees. The New York Times maintains a tracker of public

21   information regarding probationary terminations, and states (as of March 4, 2025): “These figures are

22

23

24

25      51
            https://www.msn.com/en-us/news/us/its-a-lie-federal-workers-incensed-by-performance-
26   language-in-termination-letters/ar-AA1zcrmN?ocid=BingNewsSerp
         52
            https://www.nbcnews.com/politics/doge/federal-workers-exceptional-reviews-fired-
27   performance-issues-rcna192347
         53
28           https://www.washingtonpost.com/nation/2025/02/17/trump-fires-federal-workers-performance/
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           35
     Case 3:25-cv-01780-WHA                Document 90        Filed 03/11/25      Page 37 of 65




 1   just a portion of the more than 200,000 probationary employees that the Trump administration aims

 2   to cut, and more dismissals are expected.”54

 3              142.   Further proving that the NSF did not make the decision at the agency level to fire its

 4   probationary workers, following the Temporary Restraining Order in this case, the Director of NSF

 5   immediately ordered all terminated probationary workers reinstated. On Monday, March 3, 2025, at

 6   9:12 a.m. the NSF Office of the Director issued a Staff Memorandum that said:

 7              A Federal court issued an opinion on Friday relative to the probationary employees. NSF has
                immediately started the process of reinstating our other probationary employees. All
 8              impacted probationary employees will receive backpay and no break in service.
                This is welcome news to all of us. We recognize that these actions have had a significant
 9
                impact on the terminated staff and all of you…
10
                I want to thank all of you for your tireless efforts, even under great stress and uncertainty, to
11              do the hard work that is necessary to allow NSF to continue to advance incredible ideas and
                talent throughout our nation.
12
     Another post on this subject from the Director stated further: “NSF welcomes the return of our
13
     probationary employees who will help ensure the United States remains the global leader in scientific
14
     discovery and innovation.”
15
                143.   To Plaintiffs’ knowledge, as of the date of this filing, the Department of Defense
16
     delayed terminations of probationary employees that were set to occur on February 28, 2025 but
17
     since that date has terminated some probationary employees, in at least some cases using the OPM
18
     template.
19
                144.   Other agencies have reinstated limited numbers of workers, demonstrating the
20
     government’s interest in employing these individuals and lack of difficulty in reinstatement. Scores
21
     of federal workers want their jobs to be reinstated, and on information and belief, those
22
     reinstatements can occur as easily as the NSF’s reinstatement on March 3, 2025. These employees
23
     were fired by email en masse and can be reinstated en masse.
24
     IV.        Impact on Plaintiffs, the Federal Government, and the Public
25

26
27         54
         https://www.nytimes.com/interactive/2025/02/11/us/politics/trump-musk-doge-federal-
28   workers.html
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                                36
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25      Page 38 of 65




 1          145.    Plaintiffs AFSCME, AFGE, AFGE Local 1216, AFGE Local 2110, and UNAC

 2   (hereafter “Union Plaintiffs”) each represent probationary employees who have been summarily fired,

 3   and falsely informed that their termination was based on performance, as a result of OPM’s orders to

 4   federal agencies, or who are at risk of summary termination as a result of OPM’s orders.

 5          146.    Each Union Plaintiff has the core function of representing employees in federal

 6   bargaining units in collective bargaining and providing counseling, advice, and representation to

 7   represented employees in the event of adverse employment actions.

 8          147.    Each Union Plaintiff has been prevented, by the surprise mass terminations, from

 9   exercising those core functions as employee representative, including because by providing sham

10   reasons for probationary employees’ terminations, OPM has undermined the Plaintiffs’ ability to

11   effectively assist represented employees in vindicating their rights and seeking appropriate remedies.

12          148.    Each Union Plaintiff has expended substantial time and resources in the days

13   following the surprise mass terminations addressing member concerns and attempting to provide

14   employees with effective representation. As a result of the surprise mass terminations, each Plaintiff

15   has been forced to divert resources that would be devoted to representing employees who have

16   experienced adverse employment action for legitimate resources.

17          149.    Each Union Plaintiff has been harmed in multiple other ways by the termination of its

18   members, including by the loss of dues income and bargaining power.

19          150.    Each Union Plaintiff has organizational standing to sue in its own right and has

20   associational standing to sue on behalf of its members.

21          151.    Plaintiff Main Street Alliance’s members face imminent harm as a result of the

22   anticipated reductions and delays in services provided by the Small Business Administration, on

23   which its members rely for critical services. Those services include but are not limited to: loan

24   guarantees to enable small businesses to obtain financing to start up or grow; and emergency disaster

25   relief, such as in response to the January 2024 Los Angeles wildfires and Hurricane Helene in

26   Western North Carolina. Plaintiff Main Street Alliance’s members also face imminent harm as a
27   result of the anticipated reductions and delays in services provided by the USDA, on which many

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          37
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25       Page 39 of 65




 1   MSA members rely. For example, MSA members have utilized grant funding through various

 2   programs administered by the Agricultural Marketing Service to grow their businesses. The

 3   terminations of USDA employees are likely to lead to reductions and delays in the operation of those

 4   programs, harming MSA members.

 5          152.    Plaintiff Coalition to Protect America’s National Parks’ members face imminent harm

 6   as a result of the anticipated reductions and delays in services provided by the National Park Service.

 7   The Coalition’s members are regular and avid users of America’s national parks, national forests,

 8   wildlife refuges operated by the Fish & Wildlife Service, marine sanctuaries operated by NOAA, and

 9   other public lands, both for recreation and conservation purposes, and would be adversely affected by

10   any degradation of the parks and the programs of the NPS, the Forest Service, the Fish & Wildlife

11   Service, the NOAA Office of National Marine Sanctuaries, and the Bureau of Land Management

12   (“BLM”), and the ability of those agencies to preserve and protect parks and public lands, and make

13   them available to visitors. Such degradation in safety and services provided to the public in the

14   National Parks and other public lands, marine sanctuaries, and wildlife refuges is already happening,

15   and further degradation is inevitable based on the Coalition’s experience in prior government

16   shutdowns and with reductions in services to the public in those circumstances.

17          153.    Plaintiff Western Watersheds Project (“WWP”) faces imminent harm to its mission to

18   protect and restore wildlife and public lands. The mass termination is likely to cause further

19   degradation of public lands and wildlife. WWP’s members are regular and avid users of the public

20   lands in the Western United States. They use the National Parks, public lands and wilderness areas

21   controlled by the BLM and Forest Service, and other federal lands for recreation, conservation, and

22   study activities. WWP’s members would be adversely affected by the degradation of public lands

23   and the worsening threats to species that are likely to result from the reductions of staffing in the

24   National Park Service, BLM, and the Fish & Wildlife Service and other federal agencies that will

25   delay Endangered Species Act listing decisions.

26          154.    Additionally, in performing its own conservation work, WWP engages with numerous
27   federal agencies and relies on those agencies being fully staffed to enable WWP to achieve its

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            38
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 40 of 65




 1   mission. This includes coordinating and communicating with the Fish & Wildlife Service and the

 2   National Marine Fisheries Service (which is a component agency of NOAA, which is itself a

 3   component agency of the Department of Commerce) in conservation activities to protect various

 4   species. WWP also relies on data provided by NOAA through its component agency the National

 5   Weather Service in identifying and analyzing conservation issues, such as using NOAA’s drought

 6   data to inform WWP’s work with respect to overgrazing on public lands. The loss of probationary

 7   employees in these agencies is likely to lead to reductions and delays in providing these public

 8   services and maintaining the data that WWP relies on for its conservation work.

 9          155.    Plaintiff VoteVets faces imminent harm to its supporters who are veterans and who

10   rely on the VA medical system and other critical federal services provided to veterans. The VA has

11   dismissed over 1,000 probationary employees across various roles, including those in mental health

12   research, cancer treatment, addiction recovery, prosthetics, and burn pit exposure studies. The mass

13   termination has also hindered the recruitment of essential support staff for the Veterans Crisis Line,

14   which provides critical emergency mental health care (including suicide prevention) and support for

15   military veterans, service members, their families, and caregivers positions such as trainers and

16   quality assurance personnel. The mass termination of probationary employees is likely to impair the

17   quality of these essential services. In addition, many of VoteVets’ supporters are themselves

18   employed by the federal government, including many probationary employees who lost their jobs

19   pursuant to this mass termination.

20          156.    The mass termination has also directly harmed VoteVets as an organization. The time

21   of VoteVets’ staff and consultants has been diverted from VoteVets’ regular activities to field and

22   respond to inquiries from veterans and their families and to connect them with case workers in

23   congressional offices.

24          157.    Plaintiff Common Defense also faces imminent harm to itself and its members. Its

25   veteran members also rely on services provided by the VA medical system and other critical mental

26   health services available to veterans. Military families and veterans experience food insecurity at
27   higher rates than the general population, and many members of Common Defense rely on the

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           39
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25     Page 41 of 65




 1   Supplemental Nutrition Assistance Program (SNAP) provided through the USDA. Members of

 2   Common Defense also rely on federal educational assistance offered to veterans, including through

 3   student loans and loan deferral, cancellation, and forgiveness programs administered by the

 4   Department of Education. The mass terminations at all these agencies risk severe disruption to those

 5   services. Further, Common Defense has had to devote considerable resources to responding to

 6   requests from its members and providing guidance about the mass probationary terminations,

 7   diverting resources that Common Defense ordinarily devotes to its other core priorities.

 8          158.    Plaintiff APHA also faces imminent harm to itself and its members. APHA’s

 9   membership includes individual public health care workers, student members in schools or programs

10   in public health or related fields, and agency members such as local health departments and public

11   and private health organizations. The termination of probationary employees at HHS restricts these

12   members’ ability to do their jobs in numerous ways. Members who are students and academics rely

13   on NIH staff to manage grants and proposals for ongoing public health research. Local health

14   department members and public health worker members across the country depend on the work,

15   expertise, and information provided by the CDC to track and respond to public health threats,

16   including rapidly spreading diseases. CDC employees, including probationary employees, work to

17   track disease spread; conduct and validate lab analysis of public health data nationwide; screen

18   travelers for dangerous pathogens at airports and border crossings; and provide on-the-ground

19   support to local health departments when needed. Disruptions to this key public health testing,

20   prevention, and response work place additional burdens on APHA members to respond to public

21   health threats, such as the ongoing spread of bird flu and measles throughout the country, and the

22   possible entry into the US of diseases surging around the world, such as mpox, Ebola, or polio.

23          159.    In addition, APHA’s organizational mission includes providing public information

24   about outbreaks and public health risks, for which APHA relies on data and information provided by

25   the CDC and other components of HHS. The terminations of probationary employees are likely to

26   lead to delays and reductions in the information gathered by the agency and the information available
27   to APHA for its public education work. These mass terminations have also required APHA to take on

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            40
     Case 3:25-cv-01780-WHA             Document 90        Filed 03/11/25       Page 42 of 65




 1   additional work responding to member questions and will require APHA to devote more resources to

 2   public education about outbreaks and public health risks to compensate for the reductions in agency

 3   workforce and capacity.

 4          160.    Plaintiff AFA also faces imminent harm to itself and its members. Aviation safety is

 5   fundamental to the flight attendant profession. Recent terminations of FAA employees introduce

 6   unnecessary risk and stress that distracts from the mission of safe flight for civil and military

 7   operations. Chaotic workplaces harm recruitment, training and retention of critical personnel. FAA

 8   specialists are responsible for repairing air traffic control facilities and updating digital maps for

 9   pilots. Meteorologists provide critical reports that help navigate safe flights and avoid the dangers of

10   turbulence that range in harm from air sickness and coffee burns to serious injury and even death. If

11   FAA specialists cannot do their jobs, flight attendants cannot do theirs. In the wake of the events of

12   the past few weeks, some flight attendants have decided to leave the profession altogether while

13   others are getting pressure from their families to get another job. Flight attendants rely upon a robust

14   federal workforce to ensure our skies are safe and secure. AFA is already observing the adverse

15   effects of a diminished workforce on the federal aviation system.

16          161.      Plaintiff American Geophysical Union also faces imminent harm to itself and its

17   members. Not only do AGU members work in agencies across the federal government, AGU’s

18   scientific community outside the federal government significantly relies on federal grants to support

19   research, including awards from the National Science Foundation, Department of Energy, U.S. Forest

20   Service, Environmental Protection Agency, Department of Interior, U.S. Fish and Wildlife Service,

21   Bureau of Land Management, and National Oceanic and Atmospheric Administration, to name only a

22   few. Further, observations and data collected and curated by these agencies are the backbone of

23   global science, are particularly critical for protecting health and human safety, and are relied on by

24   AGU members both inside and outside of the government to support their own work. The scientific

25   work supported by these federal agencies and resources protects communities by improving advance

26   warning of flooding, refining forecasts of hurricane paths, and anticipating wildfire risk. Federal
27   science also bolsters the economy. Farmers use scientific drought outlooks to inform seasonal

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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                              41
     Case 3:25-cv-01780-WHA             Document 90        Filed 03/11/25       Page 43 of 65




 1   investments, and the insurance industry relies on geoscience to assess risks to infrastructure for

 2   natural hazards including earthquakes, volcanoes, floods and sea level rise. Federal science is

 3   necessary to design solutions to the climate crisis by driving innovations in energy production and the

 4   sustainable extraction of critical minerals for low carbon transportation. The loss of staff in these

 5   federal agencies will reduce the availability of this data, and delay and undermine the administration

 6   of federal grants, impairing the ability of AGU members to perform their research.

 7          162.    Plaintiff Climate Resilient Communities also faces imminent harm. CRC was recently

 8   approved for an Environmental Justice Collaborative Problem Solving Grant from the EPA to

 9   distribute air purifiers to residents of East Palo Alto, which suffers from poor air quality that is the

10   result of the decades of results of environmental injustice. CRC’s grant officer at the EPA was a

11   probationary employee who was terminated in February 2025. CRC had relied on its grant officer to

12   navigate the complex compliance requirements associated with this grant. With the loss of its grant

13   officer, and a blackout on agency communications to the public, CRC fears that its grant funding now

14   may be discontinued. CRC had already increased staffing to support the work funded by this EPA

15   grant, and has been compelled to reassign those employees to other projects, thereby diverting

16   resources that were intended to support those other projects.

17          163.    Plaintiff Point Blue faces actual and imminent harm to its conservation activities.

18   Fourteen of Point Blue’s employees are designated as “partner biologists” who have been partially

19   funded through the Natural Resources Conservation Service (“NRCS”), which is a component agency

20   of the USDA. This program helps private landowners obtain grants to support various conservation

21   practices on their land, including wildlife friendly agriculture and healthy forests and wildfire

22   resilience practices. The Point Blue partner biologists work with landowners to develop their

23   conservation plans and obtain multiple certifications required by NRCS. Point Blue has recently

24   learned that multiple employees of NRCS were terminated in February, including soil conservation

25   specialists, range conservation specialists, engineers, and administrative staff. The loss of these

26   NRCS staff members prevents conservation plans from being certified. Point Blue has had to
27   reassign its partner biologists to other projects, diverting resources that were intended for other work.

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                             42
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25       Page 44 of 65




 1   In addition, the loss of federal employees at other agencies from which Point Blue receives grant

 2   funding or partners with, including NOAA, DoD, the National Science Foundation, the Forest

 3   Service, and the Fish & Wildlife Service is likely to impair grant activities and administration,

 4   thereby impairing Point Blue’s ability to pursue its conservation work.

 5            164.   Plaintiff State of Washington relies every day on the services of agencies across the

 6   federal government, including the work of individuals located in the State of Washington but also

 7   individuals who work in other states and the District of Columbia. The agencies whose work and

 8   services directly impact the State include Cabinet-level Departments (including at least the USDA,

 9   Commerce, Education, Energy, HHS, DHS, HUD, Interior, Labor, Treasury, Transportation, and VA)

10   and many independent agencies (including EPA, SSA, FTC, CFPB and others). The State also

11   works, daily, alongside the enforcement arms of many federal agencies to protect Washingtonians

12   from unlawful acts ranging from environmental harm to labor abuses. The State contains numerous

13   federal offices and extensive federal lands, including three National Parks (Olympic, North Cascades

14   and Mount Rainier), eight National Forests, extensive lands administered by the Bureau of Land

15   Management, six military bases (which employ significant numbers of civilian staff), and significant

16   dams on the Columbia and Snake Rivers run by the Bureau of Reclamation and Army Corps of

17   Engineers. The State relies heavily on data created by many offices within the federal government,

18   ranging from weather data produced by NOAA to education-statistics created by the Department of

19   Education.

20            165.   The State is also impacted in multiple ways when residents of Washington lose their

21   jobs. While the federal government is not revealing the numbers of federal employees who have

22   been terminated, the State believes it to be at least 1,000 individuals in Washington thus far and

23   growing every day. Local governments within the State also rely on and interact with the federal

24   government every day: from FEMA in the event of a disaster, to NOAA weather data for emergency

25   preparedness planning, to the CDC for expertise and data on broad public health issues that affect the

26   State.
27

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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           43
     Case 3:25-cv-01780-WHA             Document 90         Filed 03/11/25      Page 45 of 65




 1           166.    Reduced staffing at any of the federal agencies on which the State relies and interacts

 2   with every day will directly impact the State, far beyond the immediate harm to federal employees

 3   based in Washington who have lost their livelihood and benefits. The State faces imminent harm as

 4   the result of the reductions and delays in services provided by numerous federal agencies that stem

 5   from the termination of probationary employees. Reductions to the VA medical system cause

 6   uncertainty and confusion, disrupting the availability and quality of crucial medical and mental health

 7   services for veterans.55 Workforce reductions to the National Park Service, national forests, and other

 8   public lands threaten wildlife, workers, and visitors. The State relies on partnerships with the federal

 9   government to fight wildfires, contain outbreaks of communicable diseases, keep its waters clean,

10   and respond to natural disasters. Without sufficient federal staffing, the State’s workload and costs

11   will increase, forest fires within the State will be harder to fight, diseases will be harder to control,

12   and emergency response times will drop.56 In yet another example, the State’s Department of Fish

13   and Wildlife (“WDFW”), Oregon, PNW Tribes, and the Federal Government negotiate annual salmon

14   harvests each year in what is called the “North of Falcon” process. Those planning talks are

15   underway now for the 2025 season, with final agreement expected in April, after which WDFW

16   would update their fishing rules, and NOAA would be expected to promptly review and issue a 2025

17   Biological Opinion and Endangered Species Act coverage for the North of Falcon fisheries. Any

18   NOAA delay would wreak havoc on the fishing communities, both commercial and recreational.

19           167.    Terminated employees and their families now face an immediate loss of income and

20   benefits (including health benefits); economic insecurity; the immediate need to search for alternative

21   employment; and the future adverse impact of an employment termination falsely predicated on

22   performance.

23           168.    OPM’s actions have already had impacts in California beyond terminated employees,

24   their families, and their representatives. For example, “the Trump administration has already made

25

26   55
         https://www.king5.com/article/news/local/washington-veteran-family-says-nationwide-va-layoffs-
27   already-hurt-quality-of-care/281-fd7a2530-4631-42eb-8a56-9edf215c6dee
     56
         https://www.murray.senate.gov/wp-content/uploads/2025/02/WA-Impacts-of-Trump_Musk-Mass-
28   Layoffs-1.pdf
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                              44
     Case 3:25-cv-01780-WHA             Document 90       Filed 03/11/25      Page 46 of 65




 1   the United States more exposed to catastrophic wildfires in ways that will be difficult to reverse,

 2   current and former federal employees say….The job cuts, which amount to roughly 10 percent of the

 3   agency’s work force, could hobble the Forest Service, which was already struggling to remove

 4   vegetation across its vast land holdings at a pace that matches the growing threat from fires,

 5   according to current and former federal employees, as well as private companies and nonprofit

 6   organizations that work on thinning forested lands.” 57 The effects have been immediate:

 7            In California, the Forest Service’s efforts to remove underbrush are on pause, according to a
              person who manages an organization that runs wildfire prevention projects in the state and
 8            who spoke on the condition of anonymity out of concern of reprisals. 58
 9
              V.     OPM’s February 22, 2025 New Reporting Program for All Federal Workers
10
              169.   On February 22, 2025, OPM began to implement a new mandatory reporting program
11
     for all federal employees throughout the federal government. OPM has ordered all federal employees
12
     to submit e-mail reports justifying their work.
13
              170.   Prior to February 22, 2025, federal employees were not required to submit any reports
14
     regarding their work to OPM. On information and belief, no OPM rule, regulation, policy, or
15
     program has ever, in United States history, purported to require all federal workers to submit reports
16
     to OPM.
17
              171.   On February 22, 2025, employees throughout the federal government, employed at
18
     many different agencies, received the same email, from the address: hr@opm.gov.
19
              172.   Prior to January 20, 2025, no such email address existed for use by OPM or within the
20
     federal government.
21
              173.   On information and belief, this e-mail is being sent under the purported authority of
22
     OPM.
23
              174.   On information and belief, this e-mail was sent to over 2 million federal employees.
24
              175.   The message was sent with “High Importance.”
25

26
27      57
             https://www.nytimes.com/2025/02/15/climate/us-forest-service-layoffs-wildfires.html
        58
28           https://www.nytimes.com/2025/02/15/climate/us-forest-service-layoffs-wildfires.html
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                           45
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25     Page 47 of 65




 1            176.   The message was not signed by any government official, nor did it identify the head of

 2   agency on whose behalf it was sent, the authority or program under which it was sent.

 3            177.   The title of the email was: “What did you do last week?”

 4            178.   The body of the email stated:

 5            Please reply to this email with approx. 5 bullets of what you accomplished last week and
              cc your manager.
 6
              Please do not send any classified information, links, or attachments.
 7

 8            Deadline is this Monday at 11:59 EST.

 9            179.   On February 22, 2025 a social media account purporting to belong to an individual
10   named Elon Musk (@elonmusk), who has been identified by the President as the head of the federal
11   agency known as Department of Government Efficiency (“DOGE”), posted the following message:
12            Consistent with President @realDonaldTrump’s instructions, all federal employees will
              shortly receive an email requesting to understand what they got done last week.
13
              Failure to respond will be taken as a resignation.
14

15            180.   After the OPM email notification on February 22, 2025, at least some federal

16   agencies, including the Federal Bureau of Investigation, began telling their employees not to respond

17   to this OPM surprise request.

18            181.   Public outcry ensued from the initial e-mail, public social media postings of

19   individuals who claim to be involved in this new program, and agencies’ inconsistent reactions.

20            182.   On Monday, February 24, OPM issued a “Guidance on Government-wide email What

21   did you do last week?” to “Heads and Acting Heads of Departments and Agencies,” transmitted

22   through the CHCO Council.59 That Memorandum purports to require all federal agencies to do the

23   following:

24            Responses to this email should be directed to agency leadership, with a copy to OPM at
              hr@opm.gov. Agencies should review responses and evaluate nonresponses, considering such
25            factors as whether the employee was on excused leave on Monday, February 24, 2025 or had
              access to email on that date. Employees on approved leave on February 24, or who lacked
26            access to email, are not expected to respond by the deadline. Agency heads may exclude
27
        59
28           https://www.chcoc.gov/content/guidance-government-wide-email-what-did-you-do-last-week
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          46
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 48 of 65




 1            personnel from this expectation at their discretion and should inform OPM of the categories
              of the employees excluded and reasons for exclusion.
 2
              Agencies should consider whether the expectation for employees to submit activity and/or
 3
              accomplishment bullets should be integrated into the agency’s Weekly Activity Report or
 4            future required organizational activity reporting in order provide an enterprise-wide view of
              workforce achievements and organizational trends. Furthermore, agencies should consider
 5            any appropriate actions regarding employees who fail to respond to activity/accomplishment
              requests. It is agency leadership’s decision as to what actions are taken.
 6
              182.   Late on Friday, February 28, 2025, federal employees began receiving another
 7
     government-wide OPM email.60 That email instructed federal employees to submit five bullet points
 8
     summarizing their accomplishments and copy their manager. The email stated that weekly
 9
     submissions would be required by every Monday at 11:59 p.m. Eastern Time.
10
              183.   On Saturday, March 1, 2025, the social media account purporting to belong to Elon
11
     Musk posted the following: “"The President has made it clear that this is mandatory for the executive
12
     branch. Anyone working on classified or other sensitive matters is still required to respond if they
13
     receive the email, but can simply reply that their work is sensitive.”
14
              184.   OPM has not posted any further “Guidance” to agencies subsequent to the new Friday,
15
     February 28, 2025 government-wide emails.
16
              185.   Prior to January 2025, OPM did not maintain or use any government-wide email
17
     system for communicating with federal employees.
18
              186.   On February 5, 2025, OPM posted Privacy Impact Assessment for Government-Wide
19
     Email System” stating that responding to any OPM mass email was “explicitly voluntary.”
20
              187.   On February 28, 2025, OPM edited the Privacy Impact Assessment for Government-
21
     Wide Email System to state:
22
              Individual federal government employees can decline to provide information
23
              by not responding to the email. The consequences for failure to provide the
24            requested information will vary depending on the particular email at issue.

25

26
27
        60
28           https://www.npr.org/2025/03/01/g-s1-51490/federal-workers-new-email-accomplishments
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          47
     Case 3:25-cv-01780-WHA                 Document 90        Filed 03/11/25      Page 49 of 65




 1              188.     Prior to February 22, 2025 and through the date of this complaint, no notice was

 2   published, in the Federal Register or anywhere else, regarding any OPM program, rule, policy, or

 3   regulation requiring all federal employees to provide a report regarding their work to OPM. Prior to

 4   February 22, 2025 and through the date of this complaint, no notice was published, in the Federal

 5   Register or anywhere else, regarding any program, rule, policy, or regulation under which employees

 6   who failed to respond to an email from hr@opm.gov requesting such a report would be considered to

 7   have submitted a “resignation” of federal employment.

 8              189.     OPM has not complied with any procedural requirements in the APA, 5 U.S.C. §553,

 9   with respect to this new program

10                                               CLAIMS FOR RELIEF

11                                                       Claim I:

12                                        Separation of Powers/Ultra Vires
                              Against Defendants OPM and Acting OPM Director Ezell
13
                       OPM’s Order to Federal Agencies to Terminate Probationary Employees
14                          Unlawfully Conflicts with and Overrides Legislative Power
15
                190.     Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
16
                191.     Plaintiffs have a non-statutory right of action to enjoin and declare unlawful official
17
     action that is ultra vires.
18
                192.     The Constitution vests the legislative power in Congress. U.S. Const., art. I. Federal
19
     legislation must be passed by both chambers of Congress before it may be presented to the President,
20
     and, if signed, become law. U.S. Const., art. I.; I.N.S. v. Chadha, 462 U.S. 919, 951 (1983).
21
                193.     The Constitution vests executive power in the President. U.S. Const., art. II, and
22
     imposes on the President a duty to “take Care that the Laws be faithfully executed.” U.S. Const. art.
23
     II, § 3.
24
                194.     The President and Executive Branch have no constitutional power to unilaterally
25
     enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S. 417,
26
     438–39 (1998). The declared purpose of separating and dividing the powers of government was to
27
     “diffus[e] power the better to secure liberty.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                                 48
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 50 of 65




 1   635 (1952) (Jackson, J., concurring); see also Bowsher v. Synar, 478 U.S. 714, 721–22 (1986)

 2   (“Justice Jackson’s words echo the famous warning of Montesquieu, quoted by James Madison in

 3   The Federalist No. 47, that ‘there can be no liberty where the legislative and executive powers are

 4   united in the same person, or body of magistrates’....” The Federalist No. 47, p. 325 (J. Cooke ed.

 5   1961).”).

 6           195.   Congress exercised its Article I legislative authority to create the agencies of the

 7   federal government. See generally United States Code, Title 5 (Government Organization and

 8   Employees). To the agency heads, Congress has also expressly delegated the power to manage the

 9   functions of the agencies, including the right to employ and discharge subordinate employees of the

10   agencies and to spend appropriated funds on those positions.

11           196.   In addition to specific authorizing statutes, Congress has also generally authorized the

12   heads of administrative agencies to make employment decisions (5 U.S.C. § 3101), manage the

13   employees of that agency (5 U.S.C. § 301), or delegate to subordinate officers the management

14   decisions, including the hiring and firing of employees (5 U.S.C. § 302).

15           197.   Congress also made the federal administrative agencies subject to the requirements of

16   the CSRA, which sets forth uniform rules pertaining to employment for the civil service across

17   federal agencies. The agencies, led by their agency heads, are obligated by Congress to comply with

18   the CSRA with respect to their employees.

19           198.   The OPM Program requiring federal agencies to remove probationary employees

20   throughout the federal government unlawfully usurps the legislative authority of Congress and is

21   therefore ultra vires, by overriding the direct Congressional authorization of agency heads to manage

22   the affairs and employees of their respective agencies, including by overriding each of the following

23   statutes:

24           a.     The authorization to all agencies to employ: 5 U.S.C. § 3101;

25           b.     The authorization to all agencies to manage agency affairs via rules, including rules
                    for employment: 5 U.S.C. §§ 301, 302;
26
27           c.     The specific authorizing statutes for each federal agency, which create the office of
                    agency head to administer the agencies, and enumerate the duties of the agency heads
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            49
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25   Page 51 of 65




 1                  including with respect to employment: e.g., 26 U.S.C. §§ 7803, 7804 (IRS); 42 U.S.C.
                    §§ 7231, 7253 (DOE); 20 U.S.C. § 3461 (Dept. of Ed.); 42 U.S.C. § 203 (HHS); 12
 2                  U.S.C. § 5492 (CFPB); 16 U.S.C. §§ 551, 554a, e (Agr.; Forest Service); 38 U.S.C. §
                    303, 510 (VA): 10 U.S.C. § 113 (DoD): 42 U.S.C. § 282 (NIH); 51 U.S.C. §§ 20111,
 3
                    20113 (NASA).
 4
            d.      The CSRA authorization to agencies that govern employee removal: 5 U.S.C. §§
 5                  7512, 7513;
 6          e.      The CSRA provisions that apply to agency RIFs, which authorize OPM to create
                    regulations by which agencies may conduct RIFs of their employees: 5 U.S.C. § 3502;
 7
                    see also 5 C.F.R. § 351.204 Responsibility of agency (“Each agency covered by this
 8                  part is responsible for following and applying the regulations in this part when the
                    agency determines that a reduction force is necessary.”); id. § 351.205 Authority of
 9                  OPM (“The Office of Personnel Management may establish further guidance and
                    instructions for the planning, preparation, conduct, and review of reductions in
10                  force.”).
11
            199.    OPM’s actions also exceed any statutory authority granted to it by Congress. In
12
     creating OPM and delegating duties to its Director, Congress did not authorize OPM or its Director to
13
     order the termination of employees at any other federal agency. See 5 U.S.C. § 1103 (authorizing
14
     Director of OPM to “appoint[] individuals to be employed by the Office” and “direct[] and
15
     supervis[e] employees of the Office, distribut[e] business among employees and organizational units
16
     of the Office, and direct[e] the internal management of the Office”) (emphases added).
17
            200.    OPM’s actions were not authorized by any Article II Executive power, because no
18
     Article II constitutional power authorizes OPM to order federal agencies created by Congress to
19
     discharge subordinate agency employees, or either to order OPM to direct agencies, or order agencies
20
     themselves, to rely on false statements regarding employee performance to effectuate the discharged
21
     ordered by OPM.
22
            201.    Therefore, OPM’s order to the federal agencies to terminate probationary employees
23
     was issued without legal authority and is ultra vires.
24

25                                                      Claim II:

26                       Administrative Procedures Act Section 706(2)(A) and (C)
                         Against Defendants OPM and Acting OPM Director Ezell
27                      (Action Inconsistent with Law and Exceeding Statutory Authority)
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          50
     Case 3:25-cv-01780-WHA             Document 90         Filed 03/11/25      Page 52 of 65




 1                  The OPM Order to Terminate Probationary Employees Government-Wide
                          Violates Statutes Governing Agency Powers and the CSRA
 2
             202.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
 3
             203.    Federal probationary employees, including Plaintiff Unions’ members, are subject to
 4
     the requirements of the OPM order that all federal agencies terminate probationary employees, and
 5
     the acts of the Federal Agency Defendants implementing that order. Plaintiffs and their members and
 6
     supporters are persons who have suffered legal wrong as a result of, and have been adversely affected
 7
     or aggrieved by, OPM and Acting OPM Director’s actions for purposes of 5 U.S.C. § 702.
 8
             204.    OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.
 9
     OPM’s mass termination program and order to federal agencies constitutes a final agency action
10
     under the APA. 5 U.S.C. § 704.
11
             205.    Under the APA, a court shall “hold unlawful and set aside agency action” that is
12
     “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” (5 U.S.C. §
13
     706(2)(A)), or that is “in excess of statutory jurisdiction, authority, or limitations, or short of statutory
14
     right” (5 U.S.C. § 706(2)(C)).
15
             206.    The actions of OPM and its Acting Director, including but not limited to the OPM
16
     program requiring federal agencies to terminate probationary employees, violate the Administrative
17
     Procedure Act because they are inconsistent with law in violation of 5 U.S.C. § 706(2)(A), and
18
     exceed statutory authority, in violation of 5 U.S.C. § 706(2)(C), and are for those reasons also
19
     arbitrary and capricious in violation of 5 U.S.C. § 706(2)(A).
20
             207.    The actions of OPM and its Acting Director overriding the direct Congressional
21
     authorization of agency heads to manage the affairs and employees of their respective agencies,
22
     including by overriding each and every one of the following statutes:
23
             a.      The authorization to employ: 5 U.S.C. § 3101;
24

25           b.      The authorization to manage agency affairs via rules, including rules for employment:
                     5 U.S.C. §§ 301, 302;
26
             c.      The specific authorizing statutes for each federal agency, which create the office of
27                   agency head to administer the agencies, and enumerate the duties of the agency heads
                     including with respect to employment: e.g., 26 U.S.C. §§ 7803, 7804 (IRS); 42 U.S.C.
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                               51
     Case 3:25-cv-01780-WHA                Document 90        Filed 03/11/25      Page 53 of 65




 1                      §§ 7231, 7253 (DOE); 20 U.S.C. § 3461 (Dept. of Ed.); 42 U.S.C. § 203 (HHS); 12
                        U.S.C. § 5492 (CFPB); 16 U.S.C. § 551, 554a, e (Agr.; Forest Service); 38 U.S.C. §§
 2                      303, 510 (VA): 10 U.S. C. § 113 (DoD): 42 U.S.C. § 282 (NIH); 51 U.S.C. §§ 20111,
                        20113 (NASA).
 3

 4             d.       The CSRA authorization to agencies that govern employee removal: 5 U.S.C. §§
                        7512, 7513;
 5
               e.       The CSRA provisions that apply to agency RIFs, which authorize OPM to promulgate
 6                      regulations by which agencies may conduct RIFs of their employees: 5 U.S.C. § 3502;
                        see also 5 C.F.R. § 351.204 Responsibility of agency (“Each agency covered by this
 7
                        part is responsible for following and applying the regulations in this part when the
 8                      agency determines that a reduction force is necessary.”); id., § 351.205 Authority of
                        OPM (“The Office of Personnel Management may establish further guidance and
 9                      instructions for the planning, preparation, conduct, and review of reductions in
                        force.”).
10
               208.     OPM’s actions also exceed any statutory power or duties granted by Congress to
11
     OPM. In creating OPM and delegating duties to its Director, Congress did not authorize OPM or its
12
     Director to order the removal of employees employed by any other federal agency. See 5 U.S.C. §
13
     1103 (authorizing Director of OPM to “appoint[] individuals to be employed by the Office” and
14
     “direct[] and supervis[e] employees of the Office, distribut[e] business among employees and
15
     organizational units of the Office, and direct[e] the internal management of the Office”) (emphases
16
     added).
17
                                                        Claim III:
18

19                  Administrative Procedures Act Section 706(2)(A) (Arbitrary and Capricious)
                            Against Defendants OPM and Acting OPM Director Ezell
20
                The OPM Order to Terminate Probationary Employees Government-Wide by Falsely
21                        Invoking Performance is Arbitrary and Capricious
22
               209.     Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
23
               210.     Federal probationary employees, including Plaintiff Unions’ members, are subject to
24
     the requirements of the OPM order to federal agencies to terminate probationary employees and the
25
     acts of the Federal Agency Defendants implementing that order. Plaintiffs and their members and
26
     supporters are persons who have suffered legal wrong as a result of, and have been adversely affected
27
     or aggrieved by, OPM and Acting OPM Director’s actions for purposes of 5 U.S.C. § 702.
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                                52
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 54 of 65




 1          211.    OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.

 2   OPM’s order to federal agencies constitutes final agency action under the APA. 5 U.S.C. § 704.

 3          212.    The actions implementing OPM’s mass termination program also constitute final

 4   agency actions under the APA.

 5          213.    The actions of OPM and its Acting Director, including but not limited to the OPM

 6   program requiring federal agencies to terminate probationary employees, violate the APA because

 7   they are arbitrary and capricious, in violation of 5 U.S.C. § 706(2)(A), for reasons that include the

 8   following: OPM’s actions are based on the fiction that the employees are being terminated for

 9   performance reasons; OPM’s actions are intended to deprive terminated employees of an

10   administrative remedy; OPM’s actions required agencies to terminate employees immediately, often

11   with only a few hours notice; OPM’s actions required agencies to violate commitments made to

12   employees and the agency’s own plans for those employees; and OPM’s actions had no relationship

13   to agencies’ staffing needs or statutory mandates.

14                                                  Claim IV:

15                           Administrative Procedures Act Section 706(2)(D)
                         Against Defendants OPM and Acting OPM Director Ezell
16
                          (Notice and Comment Rulemaking; Mass Termination)
17
              The OPM Order to Terminate Probationary Employees Government-wide is Void for
18                Failure to Comply with Required Notice and Comment Rulemaking
19          214.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
20          215.    Federal probationary employees, including members of Plaintiff Unions, are subject to
21   the requirements of the OPM Program requiring federal agencies to terminate probationary
22   employees. Plaintiffs and their members and supporters are persons who have suffered legal wrong as
23   a result of, and have been adversely affected or aggrieved by, OPM and Acting OPM Director’s
24   actions for purposes of 5 U.S.C. § 702. Had OPM followed notice-and-comment procedures required
25   by the APA, Plaintiffs would have provided comments about the OPM Program.
26          216.    OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.
27   OPM’s order to federal agencies constitutes final agency action under the APA. 5 U.S.C. § 704.
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            53
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 55 of 65




 1          217.    Under the APA, a court shall “hold unlawful and set aside agency action …found to be

 2   …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

 3          218.    The OPM Order directing agencies to terminate probationary employees is a “rule” for

 4   purposes of the APA. 5 U.S.C. § 551(4).

 5          219.    Congress assigned to the Director of OPM the duty of “executing, administering, and

 6   enforcing—(A) the civil service rules and regulations of the President and the Office and the laws

 7   governing the civil service.” 5 U.S.C. § 1103(a)(5)(1). Congress also required that “in the exercise

 8   of the functions assigned under this chapter, the Director shall be subject to subsections (b), (c), and

 9   (d) of section 553 of this title.” 5 U.S.C. § 1105. Congress expressly made the requirements of

10   section 553 apply to OPM actions “notwithstanding subsection (a) of such section 553,” which

11   otherwise exempts “matter[s] relating to agency management or personnel or to public property,

12   loans, grants, benefits, or contracts.” 5 U.S.C. § 553(a).

13          220.    Notwithstanding the OPM Director’s express obligations pursuant to 5 U.S.C. §§ 1103

14   and 1105 to comply with notice and comment rule-making pursuant to the APA, neither OPM nor its

15   Acting Director complied with the rule-making provisions set forth in 5 U.S.C. § 553 before issuing

16   the OPM order directing agencies to terminate probationary employees.

17          221.    OPM’s order directing agencies to terminate probationary employees therefore also

18   violates 5 U.S.C. § 706(2)(D) by failing to observe procedures required by law.

19                                                   Claim V:

20                           Administrative Procedures Act Section 706(2)(D)
                        Against Defendants OPM and Acting OPM Director Ezell
21
                      (Notice and Comment Rulemaking; Email Reporting Program)
22
              The OPM Program Requiring Federal Employees to Submit Reports by Email is Void
23               for Failure to Comply with Required Notice and Comment Rulemaking
24          222.    Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.
25          223.    Federal probationary employees, including Plaintiff Unions’ members, are subject to
26   the requirements of the OPM Program requiring federal employees submit e-mail reports to opm.gov
27   reporting on “what you accomplished last week.” Plaintiffs and their members and supporters are
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            54
     Case 3:25-cv-01780-WHA            Document 90        Filed 03/11/25      Page 56 of 65




 1   persons who have suffered legal wrong as a result of, and have been adversely affected or aggrieved

 2   by, OPM and Acting OPM Director’s actions for purposes of 5 U.S.C. § 702. Had OPM followed

 3   notice-and-comment procedures required by the APA, Plaintiffs would have provided comments

 4   about the OPM Program.

 5          224.     OPM is an agency that Congress has made subject to the APA. 5 U.S.C. § 701.

 6   OPM’s new program for federal employee reporting constitutes final agency action under the APA. 5

 7   U.S.C. § 704.

 8          225.     Under the APA, a court shall “hold unlawful and set aside agency action …found to be

 9   …. without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

10          226.     The OPM’s new program for federal employee reporting is a “rule” for purposes of the

11   APA. 5 U.S.C. § 551(4).

12          227.     Congress assigned to the Director of OPM the duty of “executing, administering, and

13   enforcing—(A) the civil service rules and regulations of the President and the Office and the laws

14   governing the civil service.” 5 U.S.C. § 1103(a)(5)(1). Congress also required that “in the exercise

15   of the functions assigned under this chapter, the Director shall be subject to subsections (b), (c), and

16   (d) of section 553 of this title.” 5 U.S.C. § 1105. Congress expressly made the requirements of

17   section 553 apply to OPM actions “notwithstanding subsection (a) of such section 553,” which

18   otherwise exempts “matter[s] relating to agency management or personnel or to public property,

19   loans, grants, benefits, or contracts.” 5 U.S.C. § 553(a).

20          228.     Notwithstanding the OPM Director’s express obligations pursuant to 5 U.S.C. §§ 1103

21   and 1105 to comply with notice and comment rule-making pursuant to the APA, neither OPM nor its

22   Acting Director complied with the rule-making provisions set forth in 5 U.S.C. § 553 before

23   commencing OPM’s new program for federal employee reporting government-wide.

24          229.     OPM’s new program for federal employee reporting therefore violates 5 U.S.C. §

25   706(2)(D) by failing to observe procedures required by law.

26                                          PRAYER FOR RELIEF
27          Wherefore, Plaintiffs pray that this Court:

28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                            55
     Case 3:25-cv-01780-WHA           Document 90        Filed 03/11/25     Page 57 of 65




 1            1.    Declare that OPM’s new programs 1) requiring federal agencies to terminate

 2   probationary employees and 2) requiring federal employees to report to OPM are unlawful;

 3            2.    Enter preliminary or permanent injunctive relief setting aside OPM’s order as

 4   unlawful; requiring OPM and Federal Agency Defendants to cease terminations of probationary

 5   employees pursuant to OPM’s program and order; and requiring OPM and Federal Agency

 6   Defendants to rescind the prior unlawful terminations of probationary employees pursuant to OPM’s

 7   Order.

 8            3.    Enter preliminary or permanent injunctive relief setting aside OPM’s order as

 9   unlawful; requiring OPM and Federal Agency Defendant, to cease requiring federal employees to

10   report to OPM, and take no action against any employee who fails to respond to OPM’s instructions

11   to report;

12            4.    Award Plaintiffs their costs, reasonable attorneys’ fees, and other disbursements as

13   appropriate;

14            5.    Grant such other and further relief as the Court deems just and proper.

15

16   DATED: March 11, 2025                        Scott A. Kronland
                                                  Stacey M. Leyton
17                                                Eileen B. Goldsmith
                                                  Danielle E. Leonard
18
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21                                                Tel: (415) 421-7151
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23                                           By: /s/ Danielle E. Leonard

24                                                Attorneys for Plaintiff Organizations
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26                                                Norman L. Eisen (pro hac vice forthcoming)
                                                  Pooja Chaudhuri (SBN 314847)
27                                                STATE DEMOCRACY DEFENDERS
                                                  FUND
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                                          56
     Case 3:25-cv-01780-WHA    Document 90    Filed 03/11/25     Page 58 of 65




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 8                                      Rushab Sanghvi (SBN 302809)
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 9                                      EMPLOYEES
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14                                      Government Employees (AFGE)
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                                        Teague Paterson (SBN 226659)
16                                      Matthew Blumin (pro hac vice forthcoming)
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17                                      AND MUNICIPAL EMPLOYEES
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21                                  By: /s/Teague Paterson
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23                                      County and Municipal Employees (AFSCME)

24                                      Tera M. Heintz (SBN 241414)
                                        Cristina Sepe (SBN 308023)
25                                      Cynthia Alexander, WA Bar No. 46019 (pro hac vice
                                        forthcoming)
26
                                        Deputy Solicitors General
27                                      OFFICE OF THE WASHINGTON STATE
                                        ATTORNEY GENERAL
28
     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                              57
     Case 3:25-cv-01780-WHA    Document 90    Filed 03/11/25     Page 59 of 65




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 5                                  By: /s/ Tera M. Heintz
 6                                      Attorneys for Plaintiff State of Washington
 7

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     SECOND AMENDED COMPLAINT, No. 3:25-cv-01780-WHA                              58
Case 3:25-cv-01780-WHA   Document 90   Filed 03/11/25   Page 60 of 65




                    Exhibit A
Case
Case 3:25-cv-01780-WHA
     3:25-cv-01780-WHA   Document
                         Document 90
                                  37-1 Filed
                                          Filed
                                              03/11/25
                                                02/26/25 Page
                                                           Page
                                                              611ofof65
                                                                      2
Case
Case 3:25-cv-01780-WHA
     3:25-cv-01780-WHA   Document
                         Document 90
                                  37-1 Filed
                                          Filed
                                              03/11/25
                                                02/26/25 Page
                                                           Page
                                                              622ofof65
                                                                      2
Case 3:25-cv-01780-WHA   Document 90   Filed 03/11/25   Page 63 of 65




                    Exhibit B
      Case 3:25-cv-01780-WHA                Document 90          Filed 03/11/25         Page 64 of 65




                                                [DATE], 2025

      MEMORANDUM FOR [EMPLOYEE], [TITLE], [ORGANIZATION]

      FROM:                       [NAME]
                                  [TITLE]

      SUBJECT:                    Notification of Termination During Probationary Period

      REFERENCES:                 5 U.S.C. § 7511
                                  [5 U.S.C. § 3321(a)]
                                  [5 C.F.R. §§ 315.803 and 804]
                                  [5 C.F.R. § 316.304]
                                  [INSERT AGENCY POLICY]

             This is to provide notification that the Agency is removing you from your position of
      [TITLE] and federal service during your probationary/trial period consistent with the above
      references.

             On [INSERT DATE OF APPOINTMENT], the Agency appointed you to the position
      of [TITLE]. As documented on your appointment Standard Form 50 (SF-50), your
      appointment is subject to a probationary/trial period. [The agency also informed you of this
      requirement in the job opportunity announcement for the position.]

                Guidance from the Office of Personnel Management (“OPM”) states, “An
      appointment is not final until the probationary period is over,” and the probationary period
      is part of “the hiring process for employees.” 1 “A probationer is still an applicant for a
      finalized appointment to a particular position as well as to the Federal service.” 2 “Until the
      probationary period has been completed,” a probationer has “the burden to demonstrate why
      it is in the public interest for the Government to finalize an appointment to the civil service
      for this particular individual.”3 Furthermore, OPM has emphasized that individual employee
      performance measurement should be aligned with and support organizational goals and focus
      employee efforts on achieving organizational and group goals. In addition, OPM has
      instructed Agencies to consider whether an employee’s performance is in the best interest of
      the government, in light of the President’s directive to dramatically reduce the size of the
      federal workforce.
              Based on the OPM guidance referenced above, the Agency finds, based on your
      performance, that you have not demonstrated that your further employment at the Agency
      would be in the public interest. For this reason, the Agency informs you that the Agency is
      removing you from your position of [TITLE] with the Agency and the federal civil service
      effective [insert date and time, if necessary].

        1
           OPM, Practical Tips for Supervisors of Probationers.
        2
           See U.S. Merit Systems Protection Board Report to the President and Congress, The Probationary Period:
A Critical Assessment Opportunity (August 2005)
         3
           Id.
Case 3:25-cv-01780-WHA             Document 90         Filed 03/11/25      Page 65 of 65




        You may have a right to file an appeal with the Merit Systems Protection Board
(MSPB) on the limited grounds set forth in 5 C.F.R. § 315.806. Any such appeal must be
filed within 30 days of the effective date of this notice or 30 days after the date of your receipt
of this notice, whichever is later. You should review MSPB regulations at 5 C.F.R. §§
1201.14 and 1201.24 for instructions on how to file an electronic appeal and content
requirements of the appeal, respectively. For more information, please visit www.mspb.gov
or contact your local MSPB regional or field office at: [INSERT MSPB REGIONAL OR
FIELD OFFICE CONTACT INFORMATION].

       We appreciate your service to the Agency and wish you the greatest of success in
your future endeavors. If you have any questions, please contact [CONTACT].

                          [INSERT NAME OF AGENCY OFFICIAL]
                          [INSERT TITLE OF AGENCY OFFICIAL]
